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                                                                                     2018 Feb-13 PM 10:31
                                                                                     U.S. DISTRICT COURT
                                                                                         N.D. OF ALABAMA
                                          EXHIBIT 1
                           UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION


GINA KAY RAY, KRISTY FUGATT,
TIMOTHY FUGATT and DEUNATE T. JEWS,                  Civil Action No.: 2:12-cv-02819-RDP
Individually and on behalf of a class of
similarly situated persons,
                                                            FIFTH AMENDED
                            Plaintiffs;                 CLASS ACTION COMPLAINT

                     v.
                                                         JURY TRIAL REQUESTED
JUDICIAL CORRECTION SERVICES, INC.,
a corporation; CORRECTIONAL
HEALTHCARE COMPANIES, INC., now
known as CHC COMPANIES INC., d.b.a.
CORRECTIONAL HEALTHCARE
COMPANIES, INC., a corporation; CORRECT
CARE SOLUTIONS, LLC, a
limited liability company;
THE CITY OF CHILDERSBURG,

                            Defendants.



                                     INTRODUCTION

       Plaintiffs Gina Ray Kay, Kristy Fugatt, Timothy Fugatt, and Deunate T. Jews

bring this civil rights action pursuant to 42 U.S.C. § 1983 alleging that Defendant

Judicial Corrections Services (“JCS”), a for-profit probation company acting under color

of law, and various Alabama municipalities, violated Plaintiffs’ constitutional and

statutory rights and the rights of persons similarly situated.

                              JURISDICTION AND VENUE

       1.     The Court has jurisdiction over this matter because it concerns a

controversy arising under the Constitution of the United States. 28 U.S.C. § 1331. This

is a civil rights action brought under 42 U.S.C. §§ 1983 and 1988.


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          2.      This Court also has jurisdiction of this action by virtue of 28 U.S.C. §§

1343(a)(3) and 1343(a)(4), authorizing jurisdiction of claims brought under 42 U.S.C. §

1983 to enforce civil rights guaranteed by the United States Constitution.

          3.      This action also seeks a declaratory judgment pursuant to 28 U.S.C. §§

2201 and 2022.

          4.      Venue in this judicial district is proper pursuant to 28 U.S.C. § 1391 (b)

and (c).

                                  PARTIES TO THE COMPLAINT 1

          5.      Plaintiff Gina Kay Ray is an individual resident of Bonaire, Alabama.

          6.      Plaintiff Kristy Fugatt is an individual resident of Sylacauga, Alabama.

          7.      Plaintiff Timothy Fugatt is an individual resident of Sylacauga, Alabama.

          8.      Plaintiff Deunate T. Jews is an individual resident of Childersburg,

Alabama.

          9.      Defendant Judicial Correction Services, Inc. (hereinafter “JCS”) is a

Delaware corporation, registered as a foreign corporation and doing business in the

State of Alabama and in this District which markets itself as “not a social service

agency,” but a “for profit” company which offers services to governmental entities “free

of charge” to the cities as “an offender paid system.” At all times, JCS has operated

under the color of state law.

          10.     Defendant CHC Companies Inc., formerly known as Correctional

Healthcare Companies, Inc. (also hereinafter “CHC”) is a Delaware corporation,

registered as a foreign corporation and doing business in the State of Alabama. In their

initial complaint, filed August 28, 2012, plaintiffs described Correctional Healthcare


1   Plaintiffs will refer to Defendants JCS, CHC, and CCS collectively as “JCS/CHC/CCS” due to the
                                                                                   cont’d on next page
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Companies, Inc. stating:

       Correctional Healthcare Companies, Inc. (hereinafter listed as “JCS” also)
       is a Delaware corporation, maintaining its principal place of business in
       Greenwood Village, Colorado, but shares the same corporate officers at
       the same address as JCS. It appears to be the successor of JCS, having
       purchased or otherwise acquired it, continuing to do business with
       plaintiffs as JCS and operating the same. (Doc. 1 ¶6)

       This description can only apply to the entity Correctional Healthcare Companies,

Inc., which had undergone a name change hereinafter described before the initial

complaint was filed. That action changed the name to CHC Companies, Inc., but the

entity still continued doing business as Correctional Healthcare Companies, Inc. This is

the only entity that meets the description of the entity identified in the initial complaint

as:

       1.      A Delaware Corporation. (Exhibit 2, pg. 2)
       2.      Maintains its principal place of business in Greenwood Village,
               Colorado. (Exhibit 2, pg. 2)
       3.      Is the successor of JCS acquiring and merging it into itself on
               September 30, 2011. (Doc. 292 - Exhibit 1 - filed under seal -
               recitals and Section 2.1, signature page pg. 59)

       Correctional Healthcare Companies, Inc. was incorporated on June 26, 2006

with the State of Delaware’s Secretary of State under file number 4181381. This is the

entity which the Plaintiffs named and described in the initial complaint. However, on

July 11, 2011, a Second Amendment to the Second Amended and Restated Certificate

of Incorporation signed by its CEO, Douglas D. Goetz, was filed changing the name of

Correctional Healthcare Companies, Inc. to CHC Companies, Inc. (Exhibit 2 - pg. 51).

       The initial complaint was served on CHC’s Chief Executive Officer, Doug Goetz,

on September 7, 2012. (Doc. 5 pg. 2). At the time Mr. Goetz was served with the initial

complaint, he was the CEO of both Correctional Healthcare Companies, Inc. and CHC


mergers, combinations and name changes described herein.

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Companies, Inc. Despite the correct identification of the intended party defendant and

proper service, the CHC entities have attempted to blur their true identity through

simultaneous name changes involving another wholly owned entity which is not related

to this controversy. 2

        CHC Companies, Inc. (f/k/a Correctional Healthcare Companies, Inc.) continues

to do business as Correctional Healthcare Companies, Inc. On September 30, 2011,

CHC Companies, Inc. merged Judicial Correction Services, Inc. into its operations

pursuant to a merger agreement. Through this merger, CHC Companies, Inc. d/b/a

Correctional Healthcare Companies, Inc. assumed the “assets, rights, privileges,

powers and franchises of, and be subject to all the liabilities, restrictions, disabilities and

duties” of JCS. Doug Goetz, CHC Companies, Inc.’s CEO, executed this agreement on

behalf of CHC. (Doc. 292 - Exhibit 1 - filed under seal - recitals and Section 2.1,

signature page pg. 59)

        11.     Defendant Correct Care Solutions, LLC (hereinafter “CCS”) is a Kansas

limited liability corporation, registered as a foreign limited liability company and doing

business in the State of Alabama. On June 24, 2014, CCS purchased CHC Companies,

Inc. and has merged CHC’s operations, its subsidiaries and its headquarters with its

own. The CCS home office and headquarters is now in Nashville, Tennessee, 3 from


2On July 11, 2011, Doug Goetz as CEO of all entities involved, simultaneously changed names of two
corporations. The corporate name of Correctional Healthcare Companies, Inc. was changed to CHC
Companies, Inc., while the corporate name of another wholly owned company unrelated to this
controversy—CHC Companies, Ltd.—was simultaneously changed to Correctional Healthcare
Companies, Inc. (Exhibit 3) This purposeful ambiguity between identical names was further promoted by
CHC Companies, Inc. signing legal documents in the name of CHC Companies, Inc. while continuing to
do business as Correctional Healthcare Companies, Inc. (“CHC”).
Correctional Healthcare Companies, Inc. (f/k/a CHC Companies, Ltd.) merged six (6) corporations into
itself on December 22, 2011, but none of the companies was JCS. (Exhibit 4).
3CHC Companies, Inc. (f/k/a Correctional Healthcare Companies, Inc. and continuing to do business as
Correctional Healthcare Companies, Inc.) filed its annual report with Colorado’s Secretary of State on July
                                                                                  cont’d on next page
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which it now directs and controls the operations of all its merged corporations including

CHC Companies, Inc. The JCS operations have been fully integrated with the

operations of other CHC companies - HPL, PNA, CHC, and JCS. JCS is part of a

division known as CCS’s State and Federal Division, which is managed by Don

Houston. (Exhibit 6) CCS controls the accounting, litigation and other operational

aspects of the JCS operations contained within this division and employs all the

personnel within the JCS operations and that division.

        12.     Defendant the City of Childersburg, Alabama, (“Childersburg”) is a

municipal corporation located within Shelby County, Alabama. The City Council and

Mayor B.J. Meeks controlled the policy making for Childersburg and also hired the

municipal court judge and contracted for services of JCS at the municipal court.

                                     FACTUAL ALLEGATIONS

        13.     JCS/CHC/CCS operated a for profit enterprise that marketed its services

to various municipal and county governments and contracted with over 100 cities and

towns throughout Alabama to collect unpaid fines and court costs from people brought

before municipal courts in traffic and other misdemeanor cases.                          JCS/CHC/CCS’

marketing approach to these cities emphasized that its fees would be paid by the

“offender” before the municipal court and that its efforts would improve collection of

court fines and costs at no cost to the city.

        14.     JCS/CHC/CCS routinely used a form contract to establish its relationship

with its customer cities and similarly trained its employees using a training manual

replete with forms for courts to use during proceedings, and for courts and



8, 2015 listing its principal office and street address as: 1283 Murfreesboro Rd. Suite 500, Nashville, TN
37217. The same address as CCS’s principal office. (Exhibit 5)


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JCS/CHC/CCS to use to contact the “offenders” from whom they are collecting. As a

result, the JCS/CHC/CCS approach is highly systemized and uniform across

municipalities.

        15.      Under the system established and implemented by JCS/CHC/CCS, its

employees were not required to have criminal justice or legal training, have any social

work education, or meet any minimum law enforcement standards, as is required of

state probation officers. Instead, JCS/CHC/CCS required only that its employees be at

least 21 years old, have no felony convictions, have at least two years of college, and

complete 40 hours of training by JCS/CHC/CCS on its processes. On satisfying those

requirements, JCS/CHC/CCS employees were then labeled “Probation Officers,” 4

permitted to carry a JCS issued badge in some municipalities, and collect fees, court

fines and costs.

        16.      Under this system and by agreement with municipalities such as

Childersburg, many administrative and judicial functions of the municipal court were

unlawfully delegated to JCS/CHC/CCS, clothing it with the color of state law for the

collection of court fines, costs and private fees.

        17.      The agreement drafted by JCS and agreed to by the mayor of

Childersburg is substantially the same contract form used throughout Alabama and

stated that the municipal “court agrees that each court order shall provide for the

following:

        a probation fee of $35.00 per month flat fee

        One time probationer set up fee of $10.00. . . . " (emphasis added).

4 In contrast, even a judicial volunteer is required to meet greater and more specific qualifications, careful
screening, specific training and continual oversight established by the Administrative Office of Courts
(‘AOC’). See Ala. Rule of Judicial Administration Rule 42.


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JCS’s contracts with other cities sometimes set the monthly fee at $45.

       18.     Childersburg, through its mayor and council, approved the agreement with

JCS and approved the employment of Larry Ward as judge of its municipal court.

Ward, a bond salesman at Morgan Keegan, also served as municipal judge for

Harpersville and at other cities also under contract with JCS. Similarly, the current

judge, Chad Woodruff, was appointed in a similar manner. The Childersburg Municipal

Court meets once a month for a few hours on the second Thursday of the month.

       19.     The JCS/CHC/CCS system provided “Order of Probation” forms to the

municipal court with the printed requirement on each form that the “offender” pay JCS

$35 per month plus $10 for a file set up charge. See Exhibit A. The monthly fee of $35

was later increased to $45 per month for each “offender” at Childersburg. In

Childersburg, Municipal Court Judge Larry Ward pre-signed blank probation orders

printed by JCS.

       20.     At municipal courts operating under the JCS contract, a person unable to

fully pay fines and costs when levied would be placed on probation using the JCS

orders and forms, even when the underlying offense is not punishable by a jail

sentence or when no suspended sentence is imposed. This was routinely done with no

investigation into the indigency of the individual or the reasons for their inability to pay

the fine and costs. The order forms supplied by JCS then required the individual to

make payment to JCS of the fines, costs and additional monthly fees as required under

its contract with the city.

       21.     The JCS/CHC/CCS system and its “Probation Tracker” software is highly

systemized and focuses on collections of fines, costs, and its fees—not traditional



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probation services. That system was used in every municipal court in which JCS

operated in Alabama. For example, “offenders” were allowed to mail in payments if they

lived 30 miles from the JCS office.    See Exhibit B.    In fact, the daily tasks of the

JCS/CHC/CCS employees were heavily directed to collecting, counting and depositing

the money collected. See Exhibit C.

      22.    The training manual used by JCS/CHC/CCS instructed its employees on

the use of its computer systems in tracking the payments made by the “offenders” and

provided court forms to order probation and payment to JCS. The payments to JCS

were ordered under these forms even when there was no adjudication of whether the

individual was responsible for committing an underlying offense or adjudication was

withheld. See Exhibit D.

      23.    The JCS training system was used in every municipal court in which JCS

operated in Alabama and also provided sample letters for use after probation was

ordered, threatening the “offender” that “a warrant will be issued for your arrest” and

that their “court date cannot and will not be reset.” See Exhibits E and F. Similar JCS

forms instructed the “offender” that they could avoid the court date if they pay an

amount determined by JCS. See Exhibit G.

      24.    The JCS/CHC/CCS training manual instructed its employees on the

issuance of warrants of arrest and provided forms for that purpose. See Exhibit H.

After the arrest warrant was issued, JCS also provided forms for warrant dismissal if

JCS determines that the “offender” was in compliance. See Exhibit I. Once a person

was arrested, JCS monitored those “offenders” placed in jail. See Exhibit J.

      25.    The city council and its mayor control the policymaking for Childersburg,

hired the municipal court judge, contracted for JCS to provide “probation services” at

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the municipal court starting in 2005, and continued to use JCS until they voted to

terminate the contract on May 19, 2015. See Exhibit N. The decision to use JCS was

an administrative decision of Childersburg, by and through its mayor, and not a decision

of the municipal court judge or the Chief Justice, or any other employee of the

Administrative Office of Courts (‘AOC’). The city did not issue a request for proposal

(‘RFP’) prior to signing the contract, and the city did not competitively bid this exclusive

contract.

       26.    Alabama municipalities, through their contracts with JCS and operations,

clothed JCS with the appearance of state authority and many allowed JCS employees

to carry badges. The JCS/CHC/CCS employees attended each municipal court session

and were referred to as “probation officers” in the operation of the municipal court and

city clerk’s office, though none have such authority under Alabama statutes. Under this

system, “offenders” were not permitted to pay fines at the city clerk’s office, but were

instead required to make all payments, including those for fines, restitution, probation

fees and court costs, to JCS at the JCS office.

       27.    This public ruse was maintained by Alabama municipalities and JCS in

order to impose and collect fines and costs from citizens such as the Plaintiffs, and was

accomplished by allowing JCS to control the money, determine how much each

municipal court “offender” must pay each month, how much would be credited for each

payment to the collection “services” of JCS each month and how much of it would

rebate to the municipalities toward the fines adjudged.

       28.    This system, as a matter of routine, violated the rights of persons such as

the Plaintiffs and the classes they seek to represent by imposing fines, costs, and fees

on indigent persons with no hearing or consideration of their indigency.

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        29.     Despite the lack of authority to do so, JCS, at its discretion, used threats

of revoking probation, increased fines and costs and jail time for purposes of collection.

Under this system, should an individual fail to pay to the satisfaction of JCS, JCS would

determine that the individual’s “probation” should be revoked. Under the system

operated jointly by Alabama municipal courts and JCS, JCS’s determination to

incarcerate an individual was routinely accepted by city and court personnel without

conducting delinquency or probation hearings and without making any findings, much

less any ability-to-pay determination or appointment of counsel before taking such

punitive action. In fact, JCS’ Contract with many cities/cities’ court explicitly agreed that

JCS, a financially interested party, will provide testimony stating: “the [probation] ‘officer’

will testify as to the circumstances of the case.” 5

        30.       The collective actions of JCS/CHC/CCS and the Alabama municipalities

with which it contracted were inextricably interwoven with each other under an

agreement and understanding and routinely resulted in court costs, fines, and fees

which exceeded the statutory maximum of $500 for municipal courts, and in some

cases also imposed additional “jail fees” for the costs of any incarceration. Similarly,

5 The following contracts include this provision: Albertville p. 1 section G, Arab p. 4 section G, Bay Minette
p. 8 Exhibit A ¶6,Brookwood p. 29 section G, Calera p. 33 Exhibit A ¶6, Childersburg p. 37 Exhibit A ¶6,
Citronelle p. 41 Exhibit A ¶6, Clanton p. 46 Exhibit A ¶6, Dauphin Island p. 54 Exhibit A ¶6, Dora p. 58
Exhibit A ¶6, East Brewton p. 63 Exhibit A ¶6, Fairhope p. 67 Exhibit A ¶6, Falkville p. 70 Section G, Fort
Payne p. 74 Exhibit A ¶6, Haleyville p. 87 Exhibit A ¶6, Hartselle p. 91 Exhibit A ¶6, Hollywood p. 95
Exhibit A ¶6, Homewood p. 99 Section G, Hueytown p. 104 Section G, Jackson p. 108 Exhibit A ¶6,
Jacksonville pp. 112, 316 Exhibit A ¶6, Jemison p. 116 Exhibit A ¶6, Kinston p. 125 Exhibit A ¶6, Lake
View p. 127 Exhibit A ¶6, Leeds pp. 131, 143 Exhibit A ¶6, Town of Level Plains p. 147 Exhibit A ¶6,
Loxely p. 153 Section G, Millbrook p. 157 Exhibit A ¶6, Montevallo p. 161 Exhibit A ¶6, Montgomery p. 165
Exhibit A ¶6, Mount Vernon p. 170 Exhibit A ¶6, Northport p. 177 Exhibit A ¶6, Orange Beach p. 180
Section G, Owens Crossroads p. 183 Section G, Ozark p. 187 Section G, Pleasant Grove p. 192 Exhibit A
¶6, Priceville p. 196 Exhibit A ¶6 (signed by Mayor and City Judge), Rainbow City p. 200 Section G,
Rainsville p. 204 Exhibit A ¶6, Robertsdale p. 211 Section G, Saraland p. 215 Exhibit A ¶6, Scottsboro p.
219 Exhibit A ¶6, Somerville p. 226 Section G, Southside p. 229 Section G, Sylacauga p. 235 Exhibit A ¶6
(signed by Mayor and City Judge), Talladega p. 243 Section G, Tallassee p. 247 Exhibit A ¶6, Troy p. 259
Section G, Warrior p. 269 Exhibit A ¶6, Ashford p. 273 Exhibit A ¶6, Attalla p. 276 Section G, Blountsville
p. 279 Section G, Bridgeport p. 283 Exhibit A ¶6, Brighton p. 287 Exhibit A ¶6, Dauphin Island pp. 300,
303 Exhibit A ¶6, Notasulga pp. 320, 325 Exhibit A ¶6.

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the periods of “probation” imposed for purposes of collecting fines and fees for JCS

routinely exceeded the two-year statutory maximum, all of which resulted in

JCS/CHC/CCS and the municipalities taking joint action to detain and otherwise

incarcerate individuals without any jurisdiction to do so.

       31.    Although probation was routinely imposed on individuals who were not

convicted of any underlying offense—or who were charged with an offense for which no

jail sentence could lawfully be imposed, individuals were arrested and incarcerated if

the fine, together with the fees added by JCS, were not paid as dictated by JCS.

       32.    Despite directing the municipal courts such as Childersburg that

incarceration of an individual “offender” is needed when payment is not made,

JCS/CHC/CCS undertakes no determination of the reasons for nonpayment, and does

not consider such things as the Plaintiffs’ disability, unemployment, or assets, in regard

to the nonpayment of the fines.

       33.    JCS/CHC/CCS denies any responsibility and took no action under its

operations with Alabama municipalities to determine ability to pay, and provides no

instruction in its employee manual for the consideration of indigency. The municipal

court judge employed by Childersburg, however, contended that under its contract it is

JCS that should determine if an “offender” is unable to pay due to indigency and if so,

to abate any fees in the probation order.

       34.    Under    this   system   jointly    implemented   by   JCS/CHC/CCS       and

municipalities such as Childersburg, after simple fines were converted to “probation” for

payment, jail often resulted for any “offender” who did not meet the payment scheduled

set by JCS. Based on JCS’s allegation of a “probation violation,” warrants were issued

for “failure to obey court order” or failure to pay, and individuals whose original penalty

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had only been a fine—or even who were not found guilty of any offense and were only

assessed court costs—ended up being imprisoned.

                     THE NAMED PLAINTIFFS’ EXPERIENCES

A.    Gina Kay Ray

      35.    Gina Kay Ray is an individual resident of Bonaire, Alabama, who was

brought before the Childersburg Municipal Court on August 12, 2010 on charges of “no

insurance” and “driving while license suspended.” She was fined $398 and $498 for

these charges and received a suspended jail sentence, but was not sentenced to serve

any jail time. Ms. Ray was not financially able to pay the fines when levied and was

ordered to be on probation with JCS. Ms. Ray did not voluntarily agree to be put on JCS

probation, but signed the JCS papers because the judge ordered her to do so. Pursuant

to the JCS form probation order, Ms. Ray was required to pay JCS an additional $45

per month and a $10 charge to set up her file. Her monthly payment on these amounts

was set by JCS at $145 per month.

      36.    On July 14, 2011, Ms. Ray was brought before the Childersburg Municipal

Court on charges of “expired tag” and “driving while license suspended.” For these

charges she was fined $168 and $498 respectively, and received a suspended jail

sentence.   Since she could not pay these fines either, she was again ordered to

“probation” with JCS and ordered to pay JCS $45 per month and $10 file set fee. Ms.

Ray did not voluntarily agree to be put on JCS probation, but signed the JCS papers

because the judge ordered her to do so. Her monthly payment on these amounts was

also set by JCS at $145 per month. Though the “probation” period for her 2010 and

2011 cases overlap in time, JCS treated these as “consecutive cases” so that the

period would then extend well beyond 24 months and result in monthly fees to JCS for


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both cases.

       37.    Ms. Ray was and has been indigent and was not able to pay for her

insurance, tag or license, much less the JCS fees, but, in accordance with the policy

and practice of Childersburg which was established in its contract with JCS, neither the

Childersburg Municipal Court nor JCS ever made any inquiry into her inability to pay at

the time of levying the fine or thereafter.

       38.    Due to her inability to pay as directed by JCS, Ms. Ray was arrested and

jailed at the request of JCS for “failure to obey a court order.” Ms. Ray was placed in the

Talladega County jail for a period of four days in 2010 and then an additional 21 days in

2011, and further time in April and May of 2012.

       39.    Due to her inability to pay and her indigency, she remained in jail

throughout these periods of time. On or about April 26, 2012, a friend of Ms. Ray was

able to acquire $300.00 which was the amount determined and demanded by JCS/CHC

to secure her release from jail.

       40.     At the point of Ms. Ray’s release on or about April 26, 2012, an employee

of CHC completed a pre-printed, pre-signed probation order stating, “Val Jews reporting

w/300 before Def can be released,” The probation order listed a $317 fine and an

offense of “Reinstate w/warrant fee.” After the $300 was paid, Ms. Ray was directed to

appear in “Judicial Corrections Municipal Court.”

       41.    On June 14, 2012, Ms. Ray was again brought before the Municipal Court

in Childersburg on charges of “attempt to evade,” “expired tag” and “driving while

revoked.” She was fined $248, $248, and $598 on these charges and again received a

suspended jail sentence but was not sentenced to serve any jail time. She could not

pay these fines and once again placed on “probation” with JCS/CHC and ordered to

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pay JCS $45 per month for 24 months and $10 file setup fee.

       42.    While Ms. Ray has made some small payments, she at all times has

been indigent and unable to pay the full amounts and the additional probation fees

charged by JCS/CHC/CCS and Childersburg.             At the time this lawsuit was filed,

remaining balances were still demanded by JCS/CHC/CCS and Childersburg.

       43.    Ms. Ray was also subjected to JCS probation in the Town of Harpersville.

JCS demanded payments and compliance with its demands without any probation

orders. Despite the fact that no probation orders were issued by the municipal court,

JCS demanded money from Ms. Ray. When she was unable to pay the amounts JCS

demanded, JCS changed her status in ProbationTracker to “warrant;” and she was

arrested and jailed for eight days.

       44.    Throughout this period of time, JCS/CHC/CCS provided no services to

Ms. Ray and acted merely as a collection agency charging additional fees and, despite

knowledge that Ms. Ray was unable to pay these fines and indigent, JCS/CHC/CCS

has sought to collect and has taken actions to incarcerate Ms. Ray without any due

process and kept on probation beyond the statutory maximum of two (2) years.

       45.    On each of her adjudications and incarcerations, Ms. Ray was denied the

benefit of legal counsel, without any formal probation revocation hearing, or any hearing

on the issue of her indigency. Despite no legal counsel, Ms. Ray was incarcerated and,

on some occasions, later released based upon the determination of JCS/CHC/CCS.

These actions were taken with the approval and participation of the Childersburg and

Harpersville city courts pursuant to their policy and contract with JCS.

B.     Kristy And Timothy Fugatt

       46.    The Fugatts have twin children and had a third child who was born with


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serious medical conditions which required constant medical care in Birmingham for two

years until his death in June 2011. As a result, both parents had extended stays at the

hospital with their child and made numerous trips to and from Birmingham to their home

in Sylacauga.

       47.    On one trip on November 13, 2010, Kristy Fugatt was stopped and

ticketed by the Childersburg Police Department for having an expired license tag and

an expired driver’s license.

       48.    Timothy Fugatt was stopped and ticketed on or about December 3, 2010

by Childersburg Police for having an expired license tag on the same vehicle. Both of

the Fugatts were set for court on January 13, 2011 at the Childersburg Municipal Court.

       49.    The Childersburg court records reflect that the Fugatts’ cases were nol

prossed upon payment of the court costs of $198.00 for the expired driver’s license and

$148.00 each for the expired tag charges. They were not sentenced to a suspended jail

sentence or to serve any jail time.

       50.    Due to these financial burdens, the Fugatts were unable to immediately

pay the court costs and were ordered to “probation” under JCS. The Fugatts did not

voluntarily agree to be put on JCS probation, but signed the JCS papers because the

judge ordered them to do so. Under the mandated terms of the probation, they were

each charged a $10 set up fee and an additional $45.00 per month for JCS’s probation

“service.”

       51.    The Fugatts paid as best they could, but when they were unable to make

payments as were ordered by JCS employees, they were required to drive to

Childersburg and explain why they could not pay. JCS set the dates upon which the

Fugatts were to report to the JCS office and were told that they would be jailed if they

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did not come. Many times the Fugatts were not able to make phone contact due to

limited phone access of JCS. Nevertheless, they were repeatedly threatened with jail

for any nonappearance at the JCS office.

       52.    The Fugatts told JCS employees about their inability to pay as demanded

and even provided medical records. Instead of assistance from JCS, the Fugatts were

called liars and continually threatened with arrest and incarceration for nonpayment.

       53.    Although the City of Childersburg’s accounting records show that Mr.

Fugatt had paid his court costs in full as of May 18, 2011, JCS claimed that he still

owed money, kept him on probation, and continued to demand payment. JCS then

sought an arrest warrant for Mr. and Mrs. Fugatt based on their alleged failure to pay.

       54.    When the Fugatts did not appear in court on August 11, 2011- the date

set by JCS for its ‘petition for revocation’ - each of the Fugatts was assessed $317.00

for “Failure to Obey Court Order” on September 26, 2011, and a warrant of arrest was

issued.

       55.    Despite their inability to pay the initial court costs, the amounts JCS/CHC

claimed the Fugatts owed kept increasing, with added as “fines,” “restitution,” “other”

and “probation fees.”

       56.    On Sunday afternoon, February 26, 2012, a Childersburg officer came to

their home in Sylacauga, threatened them with a taser and arrested them, taking them

from their young children to the jail at Childersburg and instructing them that DHR

would be called for care of their kids. This was avoided only by relatives arriving in time

to take care of the young children.

       57.    Only after relatives collectively brought $900.00 to the Childersburg jail

were the Fugatts released from jail. (Exhibit K)

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       58.    On February 26, 2012, the date of their arrest, each of the Fugatts was

charged an additional $317 for “Failure to Appear,” though there was no judge present

that Sunday and no judicial order was signed. These additional charges totaled $1,268,

plus the $90 monthly JCS/CHC fee, all resulting from the expired tag and expired

driver’s license.

       59.    In July 2012, JCS charged Mr. Fugatt an additional $234 in “restitution.”

Although no restitution was ordered by the municipal court or assessed for his nol

prossed ticket, and although the City of Childersburg’s records showed that he had paid

off the court costs he owed over a year earlier, neither the City nor its municipal court

challenged these added charges.

       60.    After their arrests, JCS continued to demand payments from Mr. and Mrs.

Fugatt in excess of the balance recorded by the City. In addition, although Mrs. Fugatt

was never charged with speeding, she was ordered to JCS probation for someone

else’s speeding ticket using a pre-printed JCS probation order that Judge Ward pre-

signed. Although the person who had actually gotten the speeding ticket was also put

on JCS probation for the offense, JCS sought to collect the balance owed for that ticket

from Mrs. Fugatt.

       61.    On October 11, 2012 the Fugatts were again required to appear at

Childersburg Municipal Court by CHC employees.          While there, a CHC employee

working in its JCS division told the Fugatts that they now owed over $1,000 in court

costs, fines and probation fees with Mrs. Fugatt owing $557 and Mr. Fugatt owing $517.

       62.    On December 13, 2012, Mr. Fugatt was once again ordered to JCS

probation for a “Proof of Insurance” violation. The probation order was not signed by the

judge and did not include any jail sentence. JCS set up this term of probation to run

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consecutive to Mr. Fugatt’s previous probation for the initial expired tag (which he had

paid in full eighteen (18) months earlier on May 18, 2011), demanding that he pay

another $10 setup fee and $135 per month, including a monthly JCS fee of $35.

       63.    While Mr. Fugatt maintained some employment, the hours he was able to

work were quite limited by these serious medical issues and family responsibilities. As

a result, the Fugatts were very poor.

       64.    Though the Fugatts had repeatedly informed JCS/CHC of their situation,

no relief was granted. The Fugatts were not afforded due process of law, in that they

were continually punished with increased amounts due and owing, threats of

incarceration for not paying, and ultimately incarceration.

       65.    In addition, the Fugatts, like all the Plaintiffs, were treated differently than

persons able to pay the court costs when first imposed, merely because of their

economic status.

       66.    Throughout this period of time, JCS/CHC/CCS has provided no services

to the Fugatts and has acted merely as a collection agency charging additional fees,

and despite knowledge that the Fugatts were unable to pay and indigent,

JCS/CHC/CCS has sought to collect and take actions to incarcerate the Fugatts without

any due process and kept them on probation after their city court costs had been paid

in full and beyond the statutory maximum of two (2) years.

       67.    The Fugatts were jailed without the benefit of legal counsel, without any

notice of charges, without formal probation revocation hearing, and without any hearing

on the issue of their indigency, but simply incarcerated and, later released based upon

the determination of JCS/CHC/CCS. These actions were taken with the approval and

participation of Childersburg personnel and pursuant to its policy and contract with JCS.

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Deunate T. Jews
       68.    Deunate T. Jews is a resident of Childersburg, Alabama, and brought

before the Childersburg Municipal Court in 2008 on the charge of harassment. Mr.

Jews was never tried, and the alleged victim placing this charge went to prison. As a

result, the charges against Mr. Jews were dismissed but, on October 22, 2009, he was

nonetheless charged court costs of $166. Since he could not pay this amount, he was

ordered to probation with JCS for 24 months for payment with the additional

requirement that he also pay JCS $45 per month and a $10 file set up fee. Mr. Jews did

not voluntarily agree to be put on JCS probation, but signed the JCS papers because

the judge ordered him to do so. Mr. Jews was not sentenced to serve any jail time.

       69.    When Mr. Jews did not pay the amounts demanded by JCS, an arrest

warrant was issued at the request of JCS for “failure to obey a court order.” Because

this warrant to arrest Mr. Jews was issued, an additional $317 was added to his bill with

JCS listed as “restitution” on the JCS and court records, even though no restitution was

involved.

       70.    On September 11, 2009, Mr. Jews was arrested and placed in the

Talladega jail forty-one (41) days for “failure to appear.”

       71.    Based on these unlawful charges, Mr. Jews was incarcerated at the

request of JCS. At his release, he was ordered to appear in “Judicial Corrections”

Municipal Court.

       72.    When Mr. Jews was unable to pay the ever growing JCS fees, JCS

sought another warrant for his arrest. Mr. Jews was arrested on August 18, 2010, by

Childersburg police officer Mark Holmes for the charge of “FTOCO” and a $935 cash

bond was demanded for his release. Mr. Jews was again taken to the Talladega County


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Jail where he stayed until September 9, 2010.

      73.    JCS charged Mr. Jews “restitution,” “probation fees,” and “court money”

fees, which, because of his indigency, he was unable to pay. On January 13, 2011,

Childersburg police officer Luke Benefield arrested Mr. Jews on the FTOCO charge.

Although the arrest warrant lists a $1,035 cash only bond, Childersburg released Mr.

Jews when family members paid $500 the next day. Upon his release, Mr. Jews was

notified that he had to appear in the Childersburg court on March 10, 2010.

      74.    When Mr. Jews was again unable to pay the continuing, escalating

JCS/CHC fees, JCS/CHC issued another warrant for his arrest and Mr. Jews was

arrested and jailed on February 21, 2012. Childersburg police booked Mr. Jews and he

was transported to the Talladega County Jail. Childersburg demanded a $1,000 cash

bond for his release.

      75.    On March 8, 2012, Mr. Jews was released from the Talladega County Jail

when he appeared in court and a family member paid JCS/CHC $200.

      76.    On May 25, 2012, Mr. Jews paid JCS/CHC $25; JCS/CHC applied $15 to

“restitution” though there was none, and $10 to “Probation Fee.” JCS/CHC gave Mr.

Jews a receipt acknowledging his payment in which it listed: Fees in arrears = $295.00;

Pay off not including Probation fees: $343.00; Monthly Probation Fees: $45: Court

Money Due from other Probations: Fines: $1,807.        This JCS/CHC receipt stated a

probation start date of March 9, 2012, which was the date Mr. Jews was released from

his most recent incarceration, and a probation end date of March 9, 2014 which is

nearly six years after the charges against him were dismissed. See Exhibit L.

      77.    Though the “probation” originally ordered on October 22, 2009 was for 24

months, it continued—with charges accruing each month—until this lawsuit was filed

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and lawyers for the City of Childersburg wrote, and the City magistrate to sign and sent,

a letter to JCS requesting that JCS terminate hundreds of probations that exceeded the

statutory two year maximum.

      78.    While Mr. Jews has made payments throughout the period of time, he

was indigent and unable to pay the full amount of the probation fees and other charges

imposed by JCS/CHC/CCS. JCS/CHC/CCS closed out Mr. Jews on December 17,

2014 with an entry of “Pre-Payment/Bond in the amount of $166.”

      79.    Throughout this period of time, JCS/CHC/CCS has provided no services

to Mr. Jews and has acted merely as a collection agency charging additional fees, and

despite knowledge that Mr. Jews was unable to pay these fines and indigent,

JCS/CHC/CCS has sought to collect and take actions to incarcerate Mr. Jews without

any due process.

      80.    Each time Mr. Jews was incarcerated, it was without the benefit of legal

counsel, without notice of charges, and without any formal probation revocation hearing

or any hearing on the issue of his indigency. On some occasions, he was later released

based upon the determination of JCS/CHC/CCS. These actions were taken with the

approval and participation of Childersburg pursuant to its policy and contract with JCS.

                       FACTUAL ALLEGATIONS REGARDING
                       CONSPIRACY BETWEEN JCS/CHC/CCS
                        AND ALBAMA MUNICIPAL COURTS

      81.    JCS/CHC/CCS       entered    into   an   agreement    and/or   reached    an

understanding with the Alabama Municipal Courts with which it contracted to deny the

Plaintiffs’ and class members’ constitutional rights protected by 42 U.S.C. § 1983.

      82.    Over the years JCS/CHC/CCS contracted with over one hundred Alabama

cities for the collection of court fines and costs using substantially the same contract

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form and provisions and thereafter operating in each court under the same automated

software and with personnel assigned to each court being trained under the same

manual and processes.

      After being hired at a city court, JCS/CHC/CCS and the municipal courts

operated in a concerted and consistent fashion showing evidence of their agreement

and understanding to deny the Plaintiffs’ and class members’ constitutional rights.

      83.    Each JCS/CHC/CCS contract provided that the municipal judge would

include in his/her orders sending people to JCS that those people would be required to

pay JCS a set-up fee and monthly fee.

      84.    Many of these agreements also stated that JCS would provide testimony

“as to the circumstances of the case” as a ‘probation officer.’ (See Paragraph 29 above)

      85.    In furtherance of the conspiratorial understanding and agreement

between JCS/CHC/CCS and the Alabama Municipal Courts under contract with

JCS/CHC/CCS, the city judges consistently placed persons appearing before the city

court on “probation” with JCS for the collection of fines and court costs when they could

not immediately pay these fines and court costs when they were assessed. This referral

to JCS “probation” occurred regardless of the existence of a suspended jail sentence

and required those individuals to pay additional JCS fees.

      86.    In ordering people to JCS “probation” for collection of fines and court

costs, the city judges consistently failed to consider any aspects of the persons’

poverty, even when they complained to the court they could not immediately pay the

fines, costs and fees when they were imposed.         Instead of consideration of their

poverty, and in furtherance of the conspiratorial understanding and agreement with

JCS, the city judges placed the class members on probation without further inquiry.

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       87.    The actions of the city judges in furtherance of the conspiratorial

understanding and agreement with JCS/CHC/CCS, were done with full understanding

and acknowledgment that JCS/CHC/CCS had financial interests in expanding the

number of individuals placed with it for “probation.” Those financial interests, in fact,

were harmed if an individual sent to JCS was formally declared to be indigent as JCS

agreed to not charge indigent people probation fees.

       88.    This conspiratorial agreement and understanding between JCS/CHC/CCS

and the Alabama municipal courts is further shown by the consistent failure of the city

judges to make any indigency determinations and by JCS/CHC/CCS’ policy that it has

no responsibility to address the poverty of the person sent to it even when it possessed

specific information about the person showing their disabilities, unemployment, and the

lack of income.

       89.    This conspiratorial agreement and understanding between JCS/CHC/CCS

and the Alabama municipal courts is further shown by the consistent failure of the city

judges to appoint counsel to those ordered to JCS ‘probation’ and by JCS’ pre-printed

probation order form which includes language above the offender’s signature line

purporting to “waive” right to counsel.

       90.     In   furtherance   of   this   understanding    and    agreement     between

JCS/CHC/CCS and the Alabama municipal courts, the courts routinely issued arrest

warrants for failure to appear, failure to pay or failure to obey court order after JCS

provided to the court its petition for revocation as the tool to acquire the warrant.

       91.    In furtherance of this conspiratorial agreement and understanding, after

JCS petitioned for revocation beginning the process to acquire a warrant, neither JCS

nor the Alabama municipal courts took steps to provide counsel for the persons

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pursued or to inform them of this right.

       92.     The petitions for revocation sought by JCS/CHC/CCS under its agreement

and understanding with Alabama municipal courts were predicated on failure of the

individual to pay the fines and fees demanded and those were discharged when such

payment was forthcoming and with “probation” itself promptly terminated when the fees,

fines and costs were fully paid. These petitions used under this agreement and

understanding in turn were accepted by the city court as the basis for arrest warrants on

charges such as failure to obey, failure to appear, failure to pay and failure to obey

court order.

       93.     In furtherance of the conspiratorial agreement and understanding

between JCS/CHC/CCS and the Alabama municipal courts, JCS was allowed to

determine the monthly payments required and to allocate of any such payment between

JCS or the City without any audit by the City as to the correctness or its accounting

before the City complied with the request of JCS for warrants.

       94.     This conspiratorial agreement and understanding between JCS/CHC/CCS

and the Alabama municipal courts to violate the constitutional rights of the plaintiffs is

further shown by the hundreds of people throughout the state who were kept on JCS

probation beyond the statutory maximum of two (2) years; the absence of counsel for

those arrested; the explicit language of the JCS forms and petitions presented to the

Court; JCS data showing disability and unemployment of those assigned for collection;

the absence of any investigation of poverty as reasons for non payment by either JCS

or the Court, and the Court’s participation in conformity with the JCS contract by

assigning persons for collection of fines and costs to a party with a known financial

interest in expanding and extending fee payments.

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       95.    To further the conspiratorial agreement and understanding between

JCS/CHC/CCS and the municipalities with which it contracted, JCS/CHC/CCS also

hired as its paid lobbyist Susan Fuqua, while she was serving as the magistrate for the

City of Hoover as well as the President of the Alabama Municipal Court Clerks and

Magistrates Association (‘AMCCMA’) for which she was one of the initial board

members. Ms. Furqua did not register as a lobbyist or publicly disclose her payments

from JCS, but organized or participated in numerous continuing education seminars for

city magistrates and city judges during which she promoted JCS’s collection system to

other city court personnel.

       96.    These concerted efforts between the Alabama municipal courts and

JCS/CHC/CCS, including the city judges and the other employees of the court, show a

conspiratorial agreement and understanding that warrants would be issued if money

was not paid by the person sent to JCS/CHC/CCS for collection, all while ignoring the

requirement of consideration of poverty as required under the constitution, Bearden v.

Georgia, and Alabama law.

                       FACTUAL ALLEGATIONS REGARDING
                       CONSPIRACY BETWEEN JCS/CHC/CCS
                        AND THE CITY OF CHILDERSBURG

       97.    JCS/CHC/CCS     entered   into   an   agreement    and/or   reached   an

understanding with the Childersburg Municipal Court to deny the Plaintiffs’ and class

members’ constitutional rights protected by 42 U.S.C. § 1983.

       98.    The parties’ relationship was established by a contract between

JCS/CHC/CCS and the City and its court. Following the date of this contract in 2005,

there was concerted consistent action between JCS/CHC/CCS and the municipal court

showing evidence of their agreement and understanding, to deny the Plaintiffs’ and

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class members’ constitutional rights.

       99.    The relationship between these parties was established by the City’s

former mayor signing a contract with JCS/CHC/CCS, which was recommended by the

municipal judge for the City of Childersburg. JCS/CHC/CCS was hired for the collection

of city court fines and costs.

       100.   This agreement provided that the municipal judge, Larry Ward, would

include in his orders sending people to JCS/CHC/CCS that those people would be

required to pay JCS a set-up fee and monthly fee.

       101.   This agreement also stated that JCS/CHC/CCS would provide testimony

“as to the circumstances of the case” as a ‘probation officer.’

       102.   The same municipal judge, Larry Ward, also worked for other Alabama

municipal courts where JCS had been hired for the same services.

       103.   In   furtherance   of     the   understanding   and   agreement   between

JCS/CHC/CCS and the Childersburg Municipal Court, Judge Ward consistently placed

persons appearing before him on “probation” with JCS/CHC/CCS for the collection of

fines and court costs when they could not immediately pay these fines and court costs

to the municipal court when they were assessed. This referral to JCS “probation”

occurred regardless of the existence of a suspended jail sentence and required those

individuals to pay additional JCS fees.

       104.   In ordering people to JCS “probation” for collection of fines and court

costs, Judge Ward consistently failed to consider the persons’ poverty, even when they

complained to the court they could not immediately pay the fines, costs and fees when

they were imposed. Instead of consideration of their poverty, and in furtherance of the

conspiratorial understanding and agreement with JCS/CHC/CCS, Judge Ward placed

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the named Plaintiffs and class members on probation without further inquiry.

      105.   The actions of Judge Ward in furtherance of the conspiratorial

understanding and agreement with JCS/CHC/CCS, were done with full understanding

and acknowledgment that JCS/CHC/CCS had financial interests in extending the paid

supervision of individuals placed with it for “probation.” Those financial interests, in

fact, were harmed if an individual sent to JCS/CHC/CCS was formally declared to be

indigent as JCS/CHC/CCS agreed to not charge indigent people probation fees.

      106.   This conspiratorial agreement and understanding between JCS/CHC/CCS

and the municipal court of Childersburg is further shown by the consistent failure of

Judge Ward to make any indigency determinations and by JCS/CHC/CCS’ policy that it

has no responsibility to address the poverty of the person sent to it even when it

possessed    specific   information   about    the   person   showing   their   disabilities,

unemployment, and the lack of income.

      107.   This conspiratorial agreement and understanding between JCS/CHC/CCS

and the municipal court of Childersburg is further shown by the consistent failure of

Judge Ward to appoint counsel to those he ordered to JCS ‘probation’ and JCS’ pre-

printed probation order, which Judge Ward pre-signed, including the following language

above the offender’s signature line. “I have counsel or have waived my right to counsel

for all proceedings to this date and have received a copy of this ORDER.”

      108.    In furtherance of this understanding between JCS/CHC/CCS and the City

of Childersburg Municipal Court, the court there routinely issued arrest warrants for

failure to appear, failure to pay or failure to obey court order after JCS/CHC/CCS

requested a petition to revoke probation. The warrants issued by the city court, in fact,

showed these charges as convictions and were based upon JCS’ institution of the

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petition for revocation. The agreement and understanding between JCS/CHC/CCS and

the city municipal court in Childersburg was further implemented by JCS providing to

the court its petition for revocation as the tool to acquire the warrant from the City.

       109.    In furtherance of this conspiratorial agreement and understanding, after

JCS/CHC/CCS petitioned for revocation beginning the process to acquire a warrant,

neither JCS/CHC/CCS nor the municipal court took steps to provide counsel for the

persons pursued or to inform them of this right and any notice about these proceedings

was allowed to be given by JCS/CHC/CCS - not the city court.

       110.    The petitions for revocation sought by JCS under its agreement and

understanding with Childersburg Municipal Court were all predicated on failure of the

individual to pay the fines and fees demanded and which were discharged when such

payment was forthcoming and with “probation” itself promptly terminated when the fees,

fines and costs were fully paid.       These petitions used under this agreement and

understanding in turn were accepted by the city court as the basis for arrest warrants on

charges such as failure to obey, failure to appear, failure to pay and failure to obey

court order.

       111.    In furtherance of the conspiratorial agreement and understanding

between JCS/CHC/CCS and the city court of Childersburg, JCS was allowed to

determine the monthly payments required and to allocate of any such payment between

JCS/CHC/CCS or the City without any audit by the City as to the correctness or its

accounting before the City complied with the request of JCS for warrants.

       112.    This conspiratorial agreement and understanding between JCS/CHC/CCS

and the municipal court of Childersburg is further shown by the hundreds of people who

were kept on JCS probation beyond the statutory maximum of two (2) years during

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which time JCS continued to demand monthly fees.

      113.    These concerted efforts between the city court and JCS/CHC/CCS,

including the city judge and the other employees of the court, show an agreement and

understanding that warrants would be issued if money was not paid by the person sent

to JCS/CHC/CCS for collection, all while ignoring the requirement of consideration of

poverty as required under constitutional law, Bearden v. Georgia, and Alabama law.



                           CLASS ACTION ALLEGATIONS

      114.    The named Plaintiffs seek to represent two main classes and two

subclasses:

      Fees class: All individuals who, as of August 28, 2010 or thereafter, were
      assigned by Alabama municipal courts to JCS for the collection of fines,
      fees and costs, and who paid fees to JCS.

              Childersburg Fees Subclass: All individuals in the Fees Class
              who were assigned to JCS probation by the Childersburg Municipal
              Court.

      AND

      Arrest and Jail Class: All individuals who, as of August 28, 2010 or
      thereafter, were assigned by Alabama municipal courts to JCS probation
      and who were arrested and/or incarcerated without an ability-to-pay
      determination after failing to pay fees, fines, or court costs to JCS.

              Childersburg Arrest and Jail Subclass: All individuals in the
              Arrest and Jail class who were assigned to JCS probation by the
              Childersburg Municipal Court.

      115.    The members of the Classes and Subclasses are so numerous that

joinder of all members is impracticable.

      116.    As of this time, the exact number in the Classes is unknown but would be

more than one thousand.



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      117.   Plaintiffs’ treatment by the Defendants is typical of the members of the

Classes and subclasses and is ongoing.

      118.   Plaintiffs will fairly and adequately protect the interests of the Classes and

have retained counsel who are competent and experienced in class litigation. Plaintiffs

have no interests that are adverse or antagonistic to the Classes.

      119.   A class action is superior to all other available methods for the fair and

efficient adjudication of this controversy. Since the damages suffered by many class

members may be small, the expense and burden of individual litigation makes it virtually

impossible for the class members individually to seek redress for the wrongful conduct

alleged.

      120.   Common questions of law and fact exist as to all members of the Classes,

and predominate over any questions affecting solely members of the Classes. Among

the questions of law and fact common to the Classes are:

             a.      Whether policy and practice of automatically placing on probation

                    all municipal offenders who cannot immediately pay fines and costs

                    but who are not, or could not be, sentenced to jail is legal;

             b.     Whether the policy and practice of converting unpaid fines and

                    costs to days of incarceration, without any determination

                    concerning an individual’s ability, to pay is legal;

             c.     Whether the policy and practice of requiring every order of the

                    municipal court to require probation fees for JCS/CHC/CCS is

                    legal;




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       d.    Whether the policy and practice of arresting and incarcerating

             individuals for failure to pay fines and costs with no finding of

             willfulness is legal.

       e.    Whether the policy and practice of failing to appoint counsel for

             indigent defendants when a jail sentence is involved is legal;

       f.    Whether the policy and practice of failing to make any inquiry into

             indigency before imposing fines and costs is legal;

       g.    Whether the policy and practice of failing to give adequate notice of

             the charge and nature of a probation revocation hearing, failing to

             provide a probation revocation hearing, failing to make written

             findings concerning the reasons for revoking probation and the

             evidence relied upon, failing to hold a hearing to determine

             indigency before revoking probation and otherwise imposing

             incarceration, failing to make written findings concerning an

             individual’s willful nonpayment of fines and costs before imposing

             incarceration for nonpayment are legal;

       h.    Whether JCS/CHC/CCS can raise its monthly probation fee charge

             to $45 without proper municipal action;

       i.    Whether the policy and practice of charging incarcerated municipal

             defendants a daily fee for each day the person is incarcerated is

             legal;

       j.    Whether the policy and practice of imposing fines and court costs

             that exceed that statutory maximum for municipal is legal;




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                k.     Whether the policy and practice of extending “probation” for

                       municipal offenses beyond 24 months is legal;

                l.     Whether the policy and practice which fails to give any credit for

                       time spent incarcerated is legal;

                m.     Whether a municipality can legally enter a contract binding upon its

                       municipal court.

         121.   JCS/CHC/CCS and Alabama municipalities including Childersburg have

acted on grounds generally applicable to the Classes, thereby making appropriate final

injunctive relief or corresponding declaratory relief with respect to the Classes as a

whole.

         122.   Plaintiffs know of no difficulty which will be encountered in the

management of this litigation which would preclude its maintenance as a class action.

The data concerning the class members and the transaction details and amounts on

each charge is largely computerized by the municipalities and by JCS/CHC/CCS.

         123.   The names and addresses of the class members are a matter of public

record and are also kept by JCS/CHC/CCS and notice can be provided to the class

members via First Class U.S. Mail or other appropriate means as may be directed by

the Court.


                                        COUNT ONE
                      DENIAL OF DUE PROCESS BY JCS/CHC/CCS,
                     BOTH THROUGH ITS OWN INDEPENDENT ACTS
                     AND IN CONSPIRACY WITH MUNICIPAL COURTS
                         (on behalf of all Classes and Subclasses)

         Plaintiffs incorporate by reference the previous paragraphs and make them a

part hereof.



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       124.   Plaintiffs aver that JCS/CHC/CCS, acting under color of state law in

violation of 42 U.S.C. § 1983, denied them, and all class members, their right to due

process.

       125.   JCS/CHC/CCS operated a for profit enterprise that marketed its services

to various municipal and county governments and contracted with over 100 cities and

towns throughout Alabama including Childersburg to collect unpaid fines and court

costs from people brought before municipal courts in traffic and other misdemeanor

cases. JCS/CHC/CCS’ marketing approach to these cities emphasized that its fees

would be paid by the “offender” before the municipal court and that its efforts would

improve collection of court fines and costs at no cost to the city.

       126.   JCS/CHC/CCS routinely used a form contract to establish its relationship

with its customer cities and similarly trained its employees using a training manual

replete with forms for courts to use during proceedings, and for courts and

JCS/CHC/CCS to use to contact the “offenders” from whom they were collecting. As a

result, the JCS/CHC/CCS approach is highly systemized and uniform across

municipalities in Alabama.

       127.   Under the system established by JCS/CHC/CCS, its employees were not

required to have criminal justice or legal training, have any social work education, or

meet any minimum law enforcement standards, as is required of state probation

officers. Instead, JCS/CHC/CCS required only that its employees be at least 21 years

old, have no felony convictions, have at least two years of college, and complete 40

hours of training by JCS/CHC/CCS on its processes.                    Upon satisfying those

requirements, JCS/CHC/CCS employees were then labeled “Probation Officers,”

permitted to carry a JCS issued badge in some municipalities, and collect fees, court

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fines, and costs.

       128.   Under this system and by agreement with cities such as Childersburg,

many administrative and judicial functions of the municipal court were unlawfully

delegated to JCS/CHC/CCS, clothing it with the color of state law for the collection of

court fines, costs and private fees.

       129.   The agreement drafted by JCS and agreed to by mayor of Childersburg

stated that the municipal “court agrees that each court order shall provide for the

following:

       a probation fee of $35.00 per month flat fee

       One time probationer set up fee of $10.00. . . . " (emphasis added).

JCS used similar contracts with other cities and sometimes set the monthly fee at $45.

       130.   JCS/CHC/CCS is, by virtue of its contracts with municipalities such as

Childersburg, clothed with the appearance of a state actor and its actions were

interwoven with those of the municipalities. Under JCS’s contracts and its operations,

JCS/CHC/CCS employees were represented to the Plaintiffs and class members to be

“probation officers” acting “on behalf of” the municipalities. Exhibit M.

       131.   In accord with the contract language, the JCS/CHC/CCS system provided

“Order of Probation” forms to municipal courts with the printed requirement on each

form that the “offender” pay JCS/CHC/CCS $35 per month plus $10 for a file setup

charge. See Exhibit A. The monthly fee of $35 was since the agreement increased to

$45 per month for each “offender” at Childersburg. The orders supplied by JCS

required the individual to pay JCS/CHC/CCS the fines, costs, and additional monthly

fees as required under its contract.

       132.   Under the JCS contract, policy, and procedures, municipal courts such as

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Childersburg’s automatically required “probation” for any person who was unable to

immediately pay in full the fine and/or costs when levied by the municipal court. JCS

probation is imposed even in cases where the debtor does not receive any jail

sentence, was never convicted of a jailable offense, or where probationers were

assessed court costs but were not convicted of anything at all.

        133.    Some of the named Plaintiffs and class members were each initially

placed on “probation” with JCS/CHC/CCS under this practice even though they had not

been sentenced to serve any jail time. Likewise, some named Plaintiffs and class

members were put on JCS probation without any court order adjudicating their guilt for

any offense, and in some cases based on a blank or unsigned probation order.

        134.    That “probation” requirement, under agreement between JCS and the

cities , was required to be part of every printed order at the municipal courts such as

Childersburg which also required payment of monthly fees to JCS. In fact, JCS’

Contract with many cities/cities’ court explicitly agreed that JCS, a financially interested

party, will provide testimony stating: “the [probation] ‘officer’ will testify as to the

circumstances of the case.” 6

6 The following contracts include this provision: Albertville p. 1 section G, Arab p. 4 section G, Bay Minette
p. 8 Exhibit A ¶6,Brookwood p. 29 section G, Calera p. 33 Exhibit A ¶6, Childersburg p. 37 Exhibit A ¶6,
Citronelle p. 41 Exhibit A ¶6, Clanton p. 46 Exhibit A ¶6, Dauphin Island p. 54 Exhibit A ¶6, Dora p. 58
Exhibit A ¶6, East Brewton p. 63 Exhibit A ¶6, Fairhope p. 67 Exhibit A ¶6, Falkville p. 70 Section G, Fort
Payne p. 74 Exhibit A ¶6, Haleyville p. 87 Exhibit A ¶6, Hartselle p. 91 Exhibit A ¶6, Hollywood p. 95
Exhibit A ¶6, Homewood p. 99 Section G, Hueytown p. 104 Section G, Jackson p. 108 Exhibit A ¶6,
Jacksonville pp. 112, 316 Exhibit A ¶6, Jemison p. 116 Exhibit A ¶6, Kinston p. 125 Exhibit A ¶6, Lake
View p. 127 Exhibit A ¶6, Leeds pp. 131, 143 Exhibit A ¶6, Town of Level Plains p. 147 Exhibit A ¶6,
Loxely p. 153 Section G, Millbrook p. 157 Exhibit A ¶6, Montevallo p. 161 Exhibit A ¶6, Montgomery p. 165
Exhibit A ¶6, Mount Vernon p. 170 Exhibit A ¶6, Northport p. 177 Exhibit A ¶6, Orange Beach p. 180
Section G, Owens Crossroads p. 183 Section G, Ozark p. 187 Section G, Pleasant Grove p. 192 Exhibit A
¶6, Priceville p. 196 Exhibit A ¶6 (signed by Mayor and City Judge), Rainbow City p. 200 Section G,
Rainsville p. 204 Exhibit A ¶6, Robertsdale p. 211 Section G, Saraland p. 215 Exhibit A ¶6, Scottsboro p.
219 Exhibit A ¶6, Somerville p. 226 Section G, Southside p. 229 Section G, Sylacauga p. 235 Exhibit A ¶6
(signed by Mayor and City Judge), Talladega p. 243 Section G, Tallassee p. 247 Exhibit A ¶6, Troy p. 259
Section G, Warrior p. 269 Exhibit A ¶6, Ashford p. 273 Exhibit A ¶6, Attalla p. 276 Section G, Blountsville
p. 279 Section G, Bridgeport p. 283 Exhibit A ¶6, Brighton p. 287 Exhibit A ¶6, Dauphin Island pp. 300,
303 Exhibit A ¶6, Notasulga pp. 320, 325 Exhibit A ¶6.

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          135.   As a result of JCS/CHC/CCS, policy and practice, people who failed to

pay fines, fees and costs were subject to arrest, detention, and incarceration.

          136.   Incarceration of individuals who could not pay their fines, costs, and

added fees, such as the Plaintiffs and class members, was accomplished by

JCS/CHC/CCS seeking warrants against them for charges of failure to pay or “failure to

obey court order,” though there is no such state statute or city ordinance which defines

this as a criminal act.

          137.   Though a determination of willful refusal to obey a court order as required

by Ala. Code § 15-18-62 can lawfully lead to incarceration, no such determinations

were made under the JCS/CHC/CCS system and methods.

          138.   JCS/CHC/CCS expressly denies that it had any responsibility to inquire or

determine why people did not make their payments or whether they were able pay to.

Therefore, when an “offender” was unable to pay the fine and additional fees required

by JCS/CHC/CCS, JCS/CHC/CCS and the municipalities such as Childersburg

cooperated with each other to issue arrest warrants initiated by JCS/CHC/CCS.

          139.   All the named Plaintiffs were indigent at the time of the charges levied

against them in Childersburg and at the times of their incarcerations. Each was unable

to pay the fines and/or costs and fees demanded by JCS/CHC/CCS due to their

indigency and each was incarcerated based on JCS’s recommendation.

          140.   Under the policy and practice of JCS/CHC/CCS and the municipalities

with which they contract, unpaid fines and costs were unlawfully converted to

undetermined days in jail for which the “offenders” were sometimes charged by the day

for their time in jail and were often given no credit for time spent in jail against the fines

levied.

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       141.    The JCS/CHC/CCS system and its “Probation Tracker” software was

used in all of the Alabama cities where JCS/CHC/CCS operated and was highly

systemized and focused on collections of fines, costs, and its fees—not traditional

probation services. For example, “offenders” were allowed to mail in payments if they

lived 30 miles from the JCS office.     See Exhibit B.   In fact, the daily tasks of the

JCS/CHC/CCS employees were heavily directed to collecting, counting and depositing

the money collected. See Exhibit C.

       142.   The training manual used by JCS/CHC/CCS instructed its employees on

the use of its computer systems in tracking the payments made by the “offenders” and

provided court forms to order probation and payment to JCS/CHC/CCS. The payments

to JCS/CHC/CCS were ordered under these forms even when there was no

adjudication of whether the individual was responsible for committing an underlying

offense or adjudication is withheld. See Exhibit D.

       143.   The JCS/CHC/CCS training system also provided sample letters for use

after probation is ordered, threatening the “offender” that “a warrant will be issued for

your arrest” and that their “court date cannot and will not be reset.” See Exhibits E and

F. Similar JCS/CHC/CCS forms instructed the “offender” that they could avoid the court

date if they paid an amount determined by JCS/CHC/CCS. See Exhibit G.

       144.   The JCS/CHC/CCS training manual instructed its employees on the

issuance of warrants of arrest and provided forms for that purpose. See Exhibit H.

After an arrest warrant was issued, JCS/CHC/CCS also provided forms for warrant

dismissal if JCS/CHC/CCS determined that the “offender” was now in compliance. See

Exhibit I. Once a person was arrested, JCS/CHC/CCS monitored those “offenders”

placed in jail. See Exhibit J.

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          145.   The agreement and forms drafted by JCS/CHC/CCS are uniformly used

by it.

          146.   JCS/CHC/CCS controlled the money collected from debtors, the required

payment amounts and schedules, and the location where the money must be paid.

Furthermore, it controlled how much of each payment was credited to its own collection

“services” each month, and how much of it was forwarded to the towns such as

Childersburg toward the underlying fines and/or costs.

          147.   Despite the lack of authority to do so, JCS/CHC/CCS, at its discretion,

used threats of revoking probation, increased fines and costs, and jail time for purposes

of collection. Under this system, should an individual fail to pay to the satisfaction of

JCS/CHC/CCS, JCS/CHC/CCS would determine that the individual’s “probation” should

be revoked. Under the system operated jointly by JCS/CHC/CCS and municipal courts

such as Childersburg’s, JCS/CHC/CCS’ recommendation of incarcerating an individual

and/or imposing unreasonable bond requirements was routinely accepted without

conducting delinquency or probation hearings and without making any findings, much

less any determination of ability to pay or appointment of counsel before taking such

punitive action.

          148.   JCS/CHC/CCS’s practices routinely resulted in the charging of court

costs, fines and fees which exceeded the jurisdictional maximum of $500 for municipal

courts. Similarly, the periods of “probation” imposed for purposes of collecting fines,

costs, and fees for JCS/CHC/CCS routinely exceed the two-year statutory maximum, all

of which results in JCS/CHC/CCS and the municipalities taking joint action to detain

and otherwise incarcerate individuals without any jurisdiction to do so.

          149.   Based on JCS/CHC/CCS’ allegation of a “probation violation,” warrants

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were issued for “failure to obey court order” or failure to pay, and individuals whose

original penalty had only been a fine—or even who not found guilty of any offense and

was only assessed court costs—ended up being imprisoned.

       150.   In this process of converting fines and/or costs to jail time, JCS/CHC/CCS

and municipal courts did not give adequate notice of the nature of any lawful charge,

failed to conduct hearings, failed to make written findings concerning the reasons for

revoking probation or the evidence relied upon, and failed to make written findings

concerning any willful nonpayment of fines and costs before imposing incarceration for

failure to pay fines and costs.

       151.   Under this joint policy and practice of JCS/CHC/CCS and municipal

courts, when a simple fine was transformed into a jail sentence of an undetermined

time, JCS/CHC/CCS and the courts also failed to provide counsel for the “offenders.”

       152.   Under the practice and policy of JCS/CHC/CCS, after an adjudication

under which a fine is levied, additional fees, costs and other charges are added to the

“offender’s” bill with JCS/CHC/CCS for each new arrest, alleged probation violation, or

contempt proceeding including, in some cases, those relating to charges years earlier.

       153.   In some cases, under the practice and policy of JCS/CHC/CCS, even

where there has been a deferred adjudication in anticipation of future dismissal, the

accused is nonetheless required to pay JCS/CHC/CCS fees. See Exhibit D.

       154.   Even in cases where a charge is dismissed as with the Plaintiff Deunate

T. Jews discussed above, costs and fees for JCS/CHC/CCS can be levied and

collection pursued through threats and repeated incarceration.

       155.   JCS/CHC/CCS’s policy and practice of imposing onerous fees on debtors

who were unable to promptly pay in full municipal fines or costs, and threatening them

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with arrest if they failed to make payments, deprived Plaintiffs and the class members

of their rights under the Due Process Clause.

       156.   JCS/CHC/CCS’s policy and practice of seeking the arrest and

imprisonment of debtors for failure to pay without any determination that the

nonpayment was willful or any other inquiry into indigency or ability to pay likewise

deprived Plaintiffs and the class members of their rights under the Due Process Clause.

       157.   These Due Process violations were also the result of an agreement or

understanding between JCS/CHC/CCS and Alabama municipal courts to impose JCS

probation on debtors who were unable to pay municipal fines or costs all at once,

implement JCS’s terms of probation, and execute JCS’s requests to arrest and imprison

debtors for nonpayment without any determination that the nonpayment was willful or

any other inquiry into indigency or ability to pay. Municipal courts throughout Alabama

conspired with JCS to deprive Plaintiffs and the class members of their rights under the

Due Process Clause, and JCS conspired with those courts to do the same.

       158.   As a proximate consequence of these deprivations of due process,

Plaintiffs and Class Members suffered injuries, to their liberty and dignity, such as

having fines, costs, and fees far in excess of their initial penalties levied against them,

facing the constant threat of arrest for nonpayment even when never convicted of a

jailable offense or any offense at all, having fines and/or costs converted to jail

sentences, being unlawfully incarcerated for indefinite periods of time, and having their

probation extended for longer than the court-imposed 24-month maximum.




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                                       COUNT TWO
                     DENIAL OF DUE PROCESS BY CHILDERSBURG 7
                          (on behalf of Childersburg Subclasses)

        Plaintiffs incorporate by reference the previous paragraphs and make them a

part hereof.

        159.    The Plaintiffs aver that Childersburg, acting under color of state law in

violation of 42 U.S.C. § 1983, has denied their right to due process and the rights of the

class members.

        160.    By contract, Childersburg has delegated many administrative and judicial

functions of its municipal court to JCS/CHC/CCS, clothing it with the color of state law

for the collection of court fines, costs and private fees.

        161.    That agreement was signed by the city mayor and bound Childersburg in

specific municipal court areas requiring that its municipal “court agrees that each court

order shall provide for the following:

        a probation fee of $35.00 per month flat fee

        One time probationer set up fee of $10.00. . . . " (emphasis added).

        162.    Childersburg, through its mayor and council, approved the agreement with

JCS.

        163.    Childersburg, through its mayor and council, also approved the

employment of Larry Ward as judge of its municipal court. Ward, a bond salesman at

Morgan Keegan, also served as municipal judge for Harpersville and at other cities

which have agreed to similar contracts.

        164.    Municipalities are prohibited from laws, ordinances and policies which are



7On February 17, 2017, the Court granted the City of Childersburg’s motions for summary judgment and
dismissed the City as a party from this action. Doc. 569 at 41. Accordingly, the claims against the City are
                                                                                    cont’d on next page
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in conflict with state law. See Ala Code Section 11-45-1. Also see, Ala. Const. Article 4

Section 89.

        165.    State law also dictates a separation of the branches of government. Ala

Const. Article 3, Section 43. 8 Under that doctrine, legislative powers granted to cities

and towns are exercised by the city council, Ala. Code, Section 11-43-43, while the

mayor of the city is responsible for executive duties. Ala. Code, Section 11-43-83. If

the town establishes a municipal court, its administration is supervised by The Chief

Justice of Alabama. Ala. Code, Section 12-2-7 et. seq.; Ala Const., Art. 6, Section 139.

        166.    Childersburg’s mayor has the executive power to execute and enforce

contracts 9 and the Childersburg city council has the legislative power to enact

regulations and ordinances, 10 but neither the mayor nor the council has the power to

invade the administration of its judiciary.

        167.    Childersburg exceeded its statutory authority and acted in conflict with

state statute and constitutional limitations when, acting through its mayor, it agreed

with JCS to bind its municipal court to include probation and fees for JCS in every court



kept in the Complaint, exactly as they were when the City was dismissed, only for purposes of a potential
appeal of that ruling.
8 Ala. Const. Art. III, Section 43 states:
In the government of this state, except in the instances in this Constitution hereinafter expressly directed
or permitted, the legislative department shall never exercise the executive and judicial powers, or either of
them; the executive shall never exercise the legislative and judicial powers, or either of them; the judicial
shall never exercise the legislative and executive powers, or either of them; to the end that it may be a
government of laws and not of men.
9Ala. Code Section 11-43-83 - The mayor shall see that all contracts with the town or city are faithfully
kept or performed. He shall execute all deeds and contracts and bonds required in judicial proceedings for
and on behalf or performed. He shall execute all deeds and contracts and bonds required in judicial
proceedings for and on behalf of the city or town and no sureties shall be required on such bond. He shall
perform such other executive duties, in addition to those prescribed in this article, as may be required of
him by the council.
10Ala. Code Section 11-43-43 - All legislative powers and other powers granted to cities and towns shall
be exercised by the council, except those powers conferred on some officers by law or ordinance. The
council shall perform the duties required by this title and other applicable provisions of law.


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order entered by its hired judge. That action essentially sold the court process for

purposes of increasing income to the city.

      168.   The illegal agreement and policy of Childersburg invades and overrides

the judicial authority and court administration reserved to the municipal judge and the

Chief Justice.

      169.       Probation is only appropriate when an individual has been sentenced to

jail time and not when only a fine has been assessed as is the case with the Plaintiffs

and Class members.        As a result, the Childersburg policy and contract to include

probation in every court order mandates a judicial practice that continually deprives

indigent misdemeanants of their constitutional rights.

      170.   The policy and contract of Childersburg are also in violation of the

Alabama Constitution.        Article I, Section 20, Ala. Const. specifically prohibits

imprisonment for the payment of debts, yet the policy enforced at Childersburg regularly

jails misdemeanants upon the recommendation of JCS/CHC/CCS for failure to pay

fines, fees and costs. Article I, Section 16, Ala. Const. requires that all persons shall

before conviction be bailable by sufficient surety, but despite this prohibition,

misdemeanants are regularly jailed without lawful conviction under any contempt

proceedings or probation violation and with no bail being set.

      171.   Each of the Plaintiffs was imprisoned, and some repeatedly, under these

policies of Childersburg for their failure to pay fines, costs and the added fees

mandated by the illegal contract between Childersburg and JCS/CHC/CCS. None of the

Plaintiffs were accorded any hearing or consideration of their indigency before being

jailed nor were any provided notice of charges, a hearing on charges levied that might

result in imprisonment, or provided assistance of counsel before being imprisoned.

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       172.    At the Childersburg Municipal Court operating under the contract and

policy adopted by the City, a person unable to fully pay fines and costs when levied was

automatically placed on probation. This process used the JCS/CHC/CCS orders and

forms even when there was no jail sentence adjudicated. This was routinely done with

no investigation into the indigency of the individual or the reasons for their inability to

pay the fine and costs. The orders supplied by JCS/CHC/CCS under the agreement

with Childersburg then require the individual to make payments to JCS/CHC/CCS,

rather than the city clerk, of the fines, costs and additional monthly fees.

       173.    The Childersburg city clerk actively enforced these requirements as part of

the policy and procedures established under this contract and refused to accept

payments of fines and costs referring those payers such as the Plaintiffs instead to the

JCS offices.

       174.    Childersburg, through its contract and operation, clothed JCS/CHC/CCS

with the appearance of state authority and has allowed JCS employees to carry

badges.       Childersburg, as a matter of its agreement and policy, allowed the

JCS/CHC/CCS employees to attend each municipal court session and referred to

JCS/CHC/CCS employees as “parole officers” in the operation of the municipal court

and city clerk’s office, though none have such authority under Alabama statutes.

       175.    Under this system implemented by Childersburg, “offenders” were not

permitted to pay fines at the city clerk’s office, but were instead directed by

Childersburg to make all payments including those for fines, restitution, probation fees

and court costs to JCS/CHC/CCS at the JCS office at hours and locations set by

JCS/CHC/CCS.

       176.    The policy adopted and implemented by Childersburg was to comply with

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its contract with JCS.

          177.   Childersburg allowed JCS/CHC/CCS to control the money collected from

persons such as Plaintiffs, and to determine how much each such municipal court

“offender” must pay each month.

          178.   Childersburg also allowed JCS/CHC/CCS to determine how much of the

collected sums would be credited to the collection “services” of JCS/CHC/CCS each

month and how much of it would rebate to the towns such as Childersburg toward the

municipal court fines adjudged.

          179.   This system, as a matter of routine, violates the rights of persons such as

the Plaintiffs and the classes they seek to represent by imposing fines and charging

fees to indigent persons with no hearing or consideration of their indigency.

          180.   Despite the lack of authority to do so, Childersburg permitted

JCS/CHC/CCS, at its discretion, to use threats of revoking probation, increased fines

and costs and jail time for purposes of collection.

          181.   Under this system, should an individual fail to pay to the satisfaction of

JCS/CHC/CCS,         Childersburg   permitted    JCS/CHC/CCS      to   determine   that   the

individual’s “probation” should be revoked, or impose additional fines and costs.

          182.   Under    the   system    operated    at   Childersburg,    JCS/CHC/CCS’

determination to incarcerate an individual and/or impose unreasonable release

requirements was routinely accepted by Childersburg personnel without conducting

delinquency or probation hearings and without making any findings, much less any

determination of indigency or appointment of counsel before taking such punitive

action.

          183.    Childersburg permitted JCS/CHC/CCS to control and dictate these

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functions and, as a consequence, this routinely resulted in court costs and fines which

exceed the statutory maximum of $500 for municipal courts and impose additional “jail

fees” determined by the city clerk for the costs of any incarceration. Similarly, the

periods of “probation” imposed for purposes of collecting fines and fees at Childersburg

routinely exceeded the two-year statutory maximum, all of which resulted in action to

detain and otherwise incarcerate individuals without any jurisdiction to do so.

       184.     The municipal court judge employed by Childersburg contended that

under the Childersburg contract, it was JCS/CHC/CCS that should determine if an

“offender” is unable to pay due to indigency and if so, to abate any fees in the probation

order and therefore no investigation of indigency was undertaken by Childersburg as a

matter of policy.

       185.     Under this system implemented at Childersburg, after simple fines were

illegally converted to “probation” for payment, jail often resulted for the “offender” who

did not meet the payment scheduled set by JCS/CHC/CCS and enforced by

Childersburg.       This system used and accepted JCS/CHC/CCS’ conclusion of a

“probation violation” or “failure to obey court order” and employed JCS/CHC/CCS forms

for the issuance of warrants to incarcerate individuals whose original case had only

been a fine.

       186.     Under this system at Childersburg, each of the Plaintiffs was first only

fined, but then automatically placed on “probation” though no jail sentence was

adjudicated.     Though each of the Plaintiffs was indigent, Childersburg made no

investigation of that matter. When the Plaintiffs were unable to pay the fines, costs and

additional JCS/CHC/CCS fees that Childersburg agreed to levy, recommendations from

JCS/CHC/CCS were made and followed by Childersburg to incarcerate each of them

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for undetermined times.

       187.    Incarceration of individuals who cannot pay their fines and added fees,

such as the Plaintiffs and class members, was also accomplished by bringing charges

against them for “failure to obey court order,” though there is no such state statute or

city ordinance which defines this as a criminal act.

       188.    Though a determination of willful refusal to obey a court order as required

by Ala. Code §15-18-62 can lawfully lead to incarceration, no such determinations are

made under the system at Childersburg.

       189.    Childersburg adopted and implemented JCS/CHC/CCS’ conclusion of a

“probation violation” or “failure to obey court order” and employed JCS/CHC/CCS forms

for the issuance of warrants to incarcerate individuals whose original case had only

been a fine.

       190.    In this process of converting fines to jail time, Childersburg did not give

adequate notice to the “offender” of the nature of any lawful charge, it failed to conduct

hearings, failed to make written findings concerning the reasons for any probation

revocation or the evidence relied upon, and failed to make written findings concerning

any willful nonpayment of fines and costs before imposing incarceration for failure to

pay fines and costs.

       191.    Under this policy and practice at Childersburg when a simple fine was

transformed into a jail sentence of an undetermined time, Childersburg also failed to

provide counsel for the “offenders.”

       192.    After jailing an “offender,” Childersburg acted to further violate the

Plaintiffs’ constitutional rights by arbitrarily granting early release to some individuals

while denying it to others under similar circumstances without any rational basis based

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upon the whim of JCS/CHC/CCS and payments it secured. As a result, there was no

consistent standard of review or logical system under which those incarcerated were

granted release.

       193.   Under the practice and policy used at Childersburg, after an adjudication

under which a fine was levied, additional fees, costs, and other charges were added to

the “offender” bill for each new arrest, alleged probation violation, or contempt

proceeding including, in some cases, those relating to charges years earlier.

       194.   In some cases, under the practice and policy adopted and implemented at

Childersburg, even where there has been a deferred adjudication, the accused was

nonetheless required to pay JCS/CHC/CCS fees. See Exhibit D.

       195.   Even in cases where a charge is dismissed as with the Plaintiff Deunate

T. Jews, whose specific facts are included above, the costs and fees at Childersburg

can be levied and collection pursued through threats and repeated incarceration, all

with the knowledge and participation of Childersburg.

       196.    As a proximate consequence of this deprivation of due process, the

Plaintiffs and class members suffered injuries including having fines converted to jail

sentences, being unlawfully incarcerated for undetermined periods of time with the loss

of their liberty and injury to their dignity, by having fines in excess of statutory limits

levied against them and by having other illegal charges for JCS/CHC/CCS fees, costs

and restitution levied all while being indigent.




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                                        COUNT THREE
             VIOLATION OF THE FOURTH AMENDMENT BY JCS/CHC/CCS,
                     BOTH THROUGH ITS OWN INDEPENDENT ACTS
                    AND IN CONSPIRACY WITH MUNICIPAL COURTS
        (on behalf of Jail and Arrest Class and Childersburg Jail and Arrest Subclass)

         Plaintiffs incorporate by reference the previous paragraphs and make them a

part hereof.

         197.   The Plaintiffs aver that JCS/CHC/CCS, acting under color of state law in

violation of 42 U.S.C. § 1983, violated their Fourth Amendment rights and the rights of

the class members to be free from unreasonable seizure.

         198.   In addition to a denial of due process and equal protection guaranteed the

Plaintiffs under the Fourteenth Amendment, the arrest and detainment of these

“offenders” who could not pay the fines and/or costs imposed under this system

constituted a “seizure” in violation of the Fourth Amendment as well.

         199.   Under Alabama law, a fine can only be converted into jail time if the court

makes findings under Ala. Code § 15-18-62 that a defendant has willfully failed to pay

the fines and/or costs. Even there, the statute provides specifics as to potential jail

time.

         200.   Under the system created and implemented by JCS/CHC/CCS, there was

no hearing to determine whether an “offender” had willfully refused to pay or was

unable to pay, nor any consideration of indigency or possible factors preventing

payment.

         201.   Under the system created and implemented by JCS/CHC/CCS and

Alabama municipalities, every person who was unable to pay a simple fine and costs in

full was placed on “probation.” Though their inability to pay the fine provided immediate

notice of the “offenders’” financial limitations, the JCS/CHC/CCS system added further

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costs and fees each month to these “offenders” who were already unable to pay the

fines levied.    This resulted in an increased financial burden on people who were

accused of no more than traffic violations or misdemeanors.

      202.      Unless prompt payment of its fees and fines and/or costs was made as

determined by JCS/CHC/CCS, JCS/CHC/CCS would submit a petition for revocation of

probation and seeks an arrest warrant, thus beginning the process of incarcerating an

individual who otherwise would never have seen jail under the original adjudication.

      203.      When debtors failed to make payments, JCS/CHC/CCS’s policy and

practice was to submit petitions for revocation of probation alleging that those debtors

violated their probation by failing to pay. JCS/CHC/CCS knew arrest warrants would be

issued based on these documents it submitted to courts. JCS/CHC/CCS sought those

warrants with no inquiry into the debtor’s ability to pay, even in cases where

JCS/CHC/CCS had actual knowledge that the debtor was unable to pay. Indeed,

JCS/CHC/CCS routinely sought arrest warrants for Plaintiffs and class members

without probable cause that they had committed the elements of any offense.

      204.      Furthermore, as a result of a conspiratorial agreement or understanding

between    JCS/CHC/CCS        and   Alabama     municipal courts under contract with

JCS/CHC/CCS to violate Plaintiffs’ constitutional rights, the municipal courts issued

arrest warrants for Plaintiffs without probable cause, based on information

JCS/CHC/CCS provided and processes JCS/CHC/CCS controlled. Municipal courts

under contract with JCS/CHC/CCS throughout Alabama conspired with JCS/CHC/CCS

to violate Plaintiffs’ Fourth Amendment Rights, and JCS/CHC/CCS conspired with those

courts to do the same.

      205.      Under Alabama case law, the Alabama Constitution and the U.S.

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Constitution, an indigent defendant cannot be required to serve jail time for nonpayment

of fines and costs.

        206.     Despite the longstanding law prohibiting incarceration for one’s inability to

pay a fine/debt, JCS/CHC/CCS sought arrest warrants for the Plaintiffs and class

members when JCS/CHC/CCS knew these Plaintiffs could not pay the fines, costs, and

fees JCS/CHC/CCS ordered and regardless of whether they had been initially given any

jail time .

        207.     Each of the named Plaintiffs was unlawfully arrested and detained under

the JCS/CHC/CCS process and conspiracy as described and under the specific facts

as stated above all of which constitute unlawful seizures in violation of the Fourth

Amendment.

        208.     As a proximate consequence of this unlawful seizure, the Plaintiffs and

Class Members suffered injuries including having fines and/or costs converted to jail

sentences, suffering losses of their liberty and injuries to their dignity as a result of

being arrested, and being unlawfully incarcerated for undetermined periods of time.



                                        COUNT FOUR
              VIOLATION OF THE FOURTH AMENDMENT BY CHILDERSBURG
                     (on behalf of Childersburg Jail and Arrest Subclass)

        Plaintiffs incorporate by reference the previous paragraphs and make them a

part hereof.

        209.     The Plaintiffs aver that Childersburg, acting under color of state law in

violation of 42 U.S.C. § 1983, has violated their Fourth Amendment rights and the rights

of the Class members to be free from unreasonable seizure.

        210.     By contract as discussed in detail above, Childersburg has illegally


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delegated many administrative and judicial functions of its municipal court to

JCS/CHC/CCS, clothing it with the color of state law for the collection of court fines,

costs and private fees.

        211.    In addition to a denial of due process guaranteed the Plaintiffs under the

Fourteenth Amendment, the arrest and detainment of these “offenders” who cannot pay

the fine imposed under this system constitutes a “seizure” in violation of the Fourth

Amendment as well.

        212.    Under Alabama law, a simple fine can only be converted into jail time if

the court makes findings under Ala. Code, Section 15-18-62 (1975) that a defendant

has willfully failed to pay the fines.

        213.    Childersburg’s policy of including probation with JCS/CHC/CCS in every

municipal court order created the process by which misdemeanants were incarcerated

without a willfulness hearing as required by Ala. Code, Section 15-18-62 and in violation

of Alabama case law, the Alabama Constitution and the U.S. Constitution.

        214.    Under Alabama case law, the Alabama Constitution and the U.S.

Constitution, an indigent defendant cannot be required to serve jail time for nonpayment

of fines or costs. 11

11 It is clear as a matter of constitutional law that an indigent defendant cannot be required to serve jail
time for nonpayment of fine and costs. Tate v. Short, 401 U.S. 395 (1971); Lingle v. State, 51 Ala.App.
210, 283 So.2d 660 (1973); Smith v. State 51 Ala.App. 212, 283 So.2d 662 (1973). "To imprison an
indigent when in the same circumstances an individual of financial means would remain free constitutes a
denial of equal protection of the laws." Barnett v. Hopper, 548 F.2d 550, 554 (5th Cir.1977). This is not a
case of a defendant who, though capable of paying a fine, refuses or neglects to do so.
Although Section 15-22-52, Alabama Code 1975, states that payment of fine and costs may be made a
condition of suspension of sentence or probation, in State v. Esdale, 253 Ala. 550, 45 So.2d 865 (1950),
our Supreme Court indicated that such a condition was contrary to our constitution.
        "These benefits (probation and suspension of sentence) are not the subject of bargain and sale to
        be conditioned on the payment of costs and fees assessed as an incident to the prosecution and
        trial and to condition these benefits on the payment of such costs and fees violate the letter and
        spirit of Section 13 of the Constitution of 1901 which provides that 'justice shall be administered
        without sale, denial or delay.'" Esdale, 253 Ala. at 553.
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        215.    Despite longstanding legal precedent prohibiting incarceration for one’s

inability to pay a fine/debt, Childersburg’s policy and personnel working in conjunction

with JCS/CHC/CCS unlawfully arrested and jailed Ms. Ray, Mr. Jews, Ms. Fugatt, and

Mr. Fugatt for their inability to pay simple fines and the added fees and costs dictated

by the Childersburg contract with JCS.

        216.    Childersburg police, municipal court processes and jail all became tools of

collection under forms and processes issued by JCS/CHC/CCS and which were

routinely followed by Childersburg. Childersburg’s policy and practice, after clothing

JCS/CHC/CCS with the appearance of a state actor acting on its behalf, allowed

JCS/CHC/CCS to threaten arrest or revocation of probation and/or incarceration in

order to coerce these indigents to pay Childersburg fines and JCS/CHC/CCS fees for

misdemeanor offenses not otherwise subject to jail time under the original adjudication.

        217.    When these threats failed to produce sufficiently, Childersburg police,

clerks and other personnel cooperated with JCS/CHC/CCS to arrest and jail the

Plaintiffs.

        218.    Each of the named Plaintiffs was unlawfully jailed by Childersburg under

the JCS/CHC/CCS process as described and under the specific facts stated above all

of which constitute unlawful seizures in violation of the Fourth Amendment. 12

        219.    As a proximate consequence of this unlawful seizure, the Plaintiffs and

Class members suffered injuries including having fines converted to jail sentences,

being unlawfully incarcerated for undetermined periods of time with the loss of their


Crutcher v. State, 439 So. 2d 725; 726 (Ala. Crim. App. 1983).
12 “Fourth Amendment seizure [occurs] . . . when there is a governmental termination of freedom of

movement through means intentionally applied." (internal quotation marks and emphasis omitted)); Oliver,
510 U.S. at 274 (plurality opinion) ("The Framers considered the matter of pretrial deprivations of liberty
and drafted the Fourth Amendment to address it.").


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liberty and injury to their dignity all while being indigent.

                                       COUNT FIVE
               VIOLATION OF THE SIXTH AMENDMENT BY JCS/CHC/CCS,
                     IN CONSPIRACY WITH MUNICIPAL COURTS
                        (on behalf of all Classes and Subclasses)

       Plaintiffs incorporate by reference the previous paragraphs and make them a

part hereof.

       220.     The Plaintiffs aver that JCS/CHC/CCS, acting under color of state law in

violation of 42 U.S.C. § 1983, violated their Sixth Amendment rights and the rights of

the class members.

       221.     Under the joint policy and practice of JCS/CHC/CCS and Alabama

municipal courts, when a simple fine was transformed into a jail sentence, counsel was

not provided for the indigent “offenders.”

       222.     Some named Plaintiffs and many class members were initially ordered to

pay only a fine or costs in municipal court, but due to their inability to pay, each was

placed on “probation” under JCS/CHC/CCS pursuant to JCS/CHC/CCS form orders

and its contract with the municipality.

       223.     JCS/CHC/CCS denies that it had any responsibility to investigate the

indigency of the “offenders” and took no action to determine or consider disabilities,

employment status or other reasons justifying nonpayment.

       224.     In the JCS/CHC/CCS system used in Alabama municipalities, simple fines

and/or costs including those without jail sentences were automatically and illegally

converted to “probation” if the offender could not promptly pay the entire fine and costs.

       225.     After their fines were converted to probation, debtors were threatened with

jail and actually imprisoned if the fines, fees, and costs were not paid as scheduled by



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JCS/CHC/CCS.

        226.   For Plaintiffs and class members who were not convicted of any

underlying offense, or who were convicted of an offense that is punishable by a fine

only, there would have been no risk of jail time         would but for the JCS/CHC/CCS

collection system illegally requiring “probation” for simple fines and costs.

        227.   Because debtors on probation were often wholly unable to pay, JCS

frequently submitted petitions for revocation of probation charging debtors with

“probation violations.” Arrest warrants would then be issued for “failure to obey court

order,” failure to appear, or failure to pay, all without any inquiry into debtors’ ability to

pay.

        228.   Each of the named Plaintiffs while indigent was unlawfully jailed under this

JCS/CHC/CCS system at Childersburg and without any assistance of counsel

        229.   Plaintiffs and class members did not have the benefit of counsel—and did

not knowingly, intelligently, and voluntarily waive counsel—during crucial legal

proceedings, including when they were first sentenced to JCS probation (and were first

saddled with the risk of being jailed for failure to comply with its terms); when petitions

for revocation of probation were submitted; or when they were in fact jailed.

Furthermore, no ability-to-pay determinations were made for them, and they were not

informed that counsel would be provided for them if they were indigent. These failures

to provide counsel violated their Sixth Amendment rights.

        230.   These Sixth Amendment deprivations are the result of a conspiratorial

agreement or understanding between JCS and Alabama municipal courts under

contract with JCS to deny debtors their right to counsel, as evidenced by the uniformity

of the denials across multiple jurisdictions where JCS was active, as well as preprinted

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JCS forms stating, with respect to each probationer, that the probationer had already

waived the right to counsel.

      231.     As a proximate consequence of this violation of their Sixth Amendment

rights, the Plaintiffs and Class Members suffered injuries, including having fines and/or

costs converted to jail sentences, being unlawfully incarcerated for undetermined

periods of time with the loss of their liberty and injury to their dignity, by having fines

and costs in excess of statutory limits levied against them and by having other illegal

charges for JCS/CHC/CCS fees, costs and restitution levied all while being indigent.

                                   COUNT SIX
           VIOLATION OF THE SIXTH AMENDMENT BY CHILDERSBURG
                     (on behalf of Childersburg Subclasses)

       Plaintiffs incorporate by reference the previous paragraphs and make them a

part hereof.

       232.    The Plaintiffs aver that Childersburg, acting under color of state law in

violation of 42 U.S.C. § 1983, has violated their Sixth Amendment rights and the rights

of the Class members.

       233.    By contract as discussed in detail above, Childersburg has illegally

delegated many administrative and judicial functions of its municipal court to

JCS/CHC/CCS, clothing it with the color of state law for the collection of court fines,

costs and private fees.

       234.    Under this joint policy and practice of JCS/CHC/CCS at Childersburg,

when a simple fine was transformed into a jail sentence of an undetermined time,

counsel was not provided for the indigent “offenders.”

       235.    Each of the named Plaintiffs was initially ordered to pay only a fine at the

Childersburg municipal court, but due to their inability to pay, each was placed on


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“probation” under JCS/CHC/CCS pursuant to JCS/CHC/CCS form orders and the

contract approved by Childersburg.

      236.   The contract signed by Childersburg approved a “probation” process as

essentially a collection vehicle for the city to collect its fines. That agreement, as

discussed above, conflicts with state statutes, violates state constitutional requirements

for separation of power in the branches of government and exceeds the authority of the

mayor and council.

      237.   Under that agreement, Childersburg allowed JCS/CHC/CCS to add

monthly fees to the “offender” who has already disclosed an inability to pay the fine

when adjudicated, even though JCS/CHC/CCS provides no services to them.

      238.   Under the agreement and with the knowledge and approval of

Childersburg, JCS/CHC/CCS represented itself as acting on behalf of the City which

clothes it with that appearance. See Exhibit M.

      239.   Under this agreement, Childersburg has unlawfully invaded the province

of the municipal court and mandated that each order there contain provisions for fees to

JCS/CHC/CCS.

      240.   By its agreement, at Childersburg, simple fines without jail sentences were

automatically and illegally converted to probation under the JCS/CHC/CCS system

used at Childersburg if the offender could not promptly pay the entire fine and costs.

      241.   After this conversion from a fine to probation, threats of jail were used by

JCS/CHC/CCS with the approval of Childersburg and actual incarceration then took

place by police and other City personnel at Childersburg if the fines, fees and costs

were not paid as scheduled by JCS/CHC/CCS.

      242.   The jeopardy of jail time was not present when the simple fines were

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adjudicated against the Plaintiffs and would not have been present but for the

Childersburg agreement to adopt and use the JCS/CHC/CCS collection system in the

administration of its court system illegally requiring “probation” for simple fines.

       243.    With the Plaintiffs’ inability to pay and the JCS/CHC/CCS focus on

collections, charges were routinely initiated claiming “probation violation” or “failure to

obey court order.” These were initiated by JCS/CHC/CCS under its system and then

approved by Childersburg personnel.

       244.    At that point, jail sentences become potential jeopardy for the “offenders”

such as the Plaintiffs on charges that have never before been subjected to meaningful

adversarial testing.   Nevertheless, neither JCS/CHC/CCS nor Childersburg provide

counsel for those “offenders.”

       245.    At the point when jail sentences become potential, Childersburg

presented charges of alleged “probation violation,” but did not provide notice of

charges, nor were findings made as required for conviction.                Similarly, though

JCS/CHC/CCS also regularly proposed a charge of “failure to obey court order” which

Childersburg then pursued, that is not a valid charge. If willful failure to pay under state

statutes such as Ala. Code Section 15-18-62 is used as the basis, under the

Childersburg system with JCS/CHC/CCS, there is no finding or hearing on the issue of

willfulness.

       246.    Each of the named Plaintiffs while indigent was unlawfully jailed by

Childersburg under this JCS/CHC/CCS system and none were provided any assistance

of counsel in the process leading to their incarceration.

       247.    These actions constitute a denial of the Plaintiffs’ rights secured by the

Sixth Amendment.

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       248.    As a proximate consequence of this violation of their Sixth Amendment

rights, the Plaintiffs and Class members suffered injuries including having fines

converted to jail sentences, being unlawfully incarcerated for undetermined periods of

time with the loss of their liberty and injury to their dignity, by having fines in excess of

statutory limits levied against them and by having other illegal charges for

JCS/CHC/CCS fees, costs and restitution levied all while being indigent.

                                 COUNT SEVEN
           VIOLATION OF THE EIGHTH AMENDMENT BY JCS/CHC/CCS,
                BOTH THROUGH ITS OWN INDEPENDENT ACTS
                AND IN CONSPIRACY WITH MUNICIPAL COURTS
                    (on behalf of all Classes and Subclasses)

       Plaintiffs incorporate by reference the previous paragraphs and make them a

part hereof.

       249.    Plaintiffs aver that JCS/CHC/CCS, acting under color of state law in

violation of 42 U.S.C. § 1983, violated the Eighth Amendment prohibition against

excessive fines and cruel and unusual punishment in its actions with the Plaintiffs and

Class Members.

       250.    The Eighth Amendment prohibits excessive fines and cruel and unusual

punishment. As such, it limits the kinds of punishment that can be imposed on those

convicted of crimes, proscribes punishment grossly disproportionate to the severity of

the crime, and imposes substantive limits on what can be made criminal and punished

as such.

       251.    Under Alabama law, a municipal court has no authority to award a fine on

any particular charge over $500.00, Ala. Code § 13A-5-12(a)(3), and even lawful

probation for misdemeanors cannot, by statute, extend beyond a two-year period. See

Ala. Code § 15-22-54(a).

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       252.   As mentioned above, § 15-18-62 is the only statutory method under which

a fine levied by a court on adjudication can be converted to imprisonment, but that can

legally occur only where the court finds willful nonpayment of the fine and cost.

       253.   Even upon proper notice and a finding of willful nonpayment under § 15-

18-62, the conversion of fine to imprisonment has a specific ratio such that a fine not to

exceed $500.00 shall result in no more than 20 days. See Ala. Code § 15-18-62(2).

       254.   Rule 26.11 of the Alabama Rules of Criminal Procedure provides the

method for dealing with fines, restitution, and the failure to pay under a variety of

circumstances, none of which were followed by JCS/CHC/CCS.

       255.   Under these facts, after substantial fines were levied against indigent

persons such as the Plaintiffs, JCS/CHC/CCS, operating under an illegal contract with

Childersburg and other municipalities, then increased that burden with additional

monthly fees and costs charged by JCS/CHC/CCS. For the named Plaintiffs, the total

amounts demanded by JCS/CHC/CCS exceeded the $500 limitation on the municipal

court authority.

       256.   Under the system JCS/CHC/CCS implemented in Alabama municipal

courts, though JCS/CHC/CCS made no inquiry into “offenders’” ability to pay or the

reason for their failure to make payments, JCS/CHC/CCS increased the amount

demanded from the Plaintiffs to the point that even partial payments could not be made.

       For example, Timothy Fugatt was assessed court costs of $148 and paid over

$450, and JCS continued to demand money from him even after he had paid until the

court costs he owed the city. These charges were is excessive, disproportionate to the

violation, and violated the excessive fines clause of the Eighth Amendment.

       Similarly, Deunate Jews was assessed court costs of $166 for a dismissed

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charge and paid over $800. These charges were excessive and violated the excessive

fines clause of the Eighth Amendment.

       257.    The Named Plaintiffs were all indigent, and their failure to pay

JCS/CHC/CCS as demanded resulted in threats of arrests on charges of “failure to

obey a court order,” failure to appear, or failure to pay, and ultimately incarceration

based upon JCS/CHC/CCS’ recommendation that the offender had “violated

“probation.”

       258.    The fines, costs, and fees levied against Plaintiffs and Members of the

Fees Class and Childersburg Fees Subclass exceeded the statutory limits of the court

and the incarceration periods imposed for the failure to pay exceeded those in Ala.

Code §15-18-62.

       259.    JCS/CHC/CCS also failed to give credit to jailed Plaintiffs and class

members for the time they served as required under statute at the rate of $15 per day

against the fine.

       260.    JCS/CHC/CCS’s practice and policy of instituting charges resulting in jail

time for inability to pay its fees, fines, and costs violates the Eight Amendment

prohibition against excessive fines and cruel and unusual punishment.

       261.    Each of the named Plaintiffs was, at all pertinent times, indigent and each

was incarcerated at the behest of JCS/CHC/CCS for their inability to pay fines, fees,

and costs on the schedule determined by JCS/CHC/CCS, though all had initially only

received fines and/or costs by the Childersburg Municipal Court.

       262.    Furthermore, Plaintiffs’ Eighth Amendment rights were violated as a result

of a conspiratorial agreement or understanding reached between JCS/CHC/CCS and

the municipal courts under contract with JCS to violate the constitutional rights of

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Plaintiffs. This understanding is shown by placing debtors on JCS/CHC/CCS probation

solely because they could not pay municipal fines and/or costs, implementing

JCS/CHC/CCS’s terms of probation, and executing JCS/CHC/CCS’s requests to arrest

and   imprison    debtors.   Municipal   courts   throughout    Alabama     conspired   with

JCS/CHC/CCS to violate debtors’ rights to be free of excessive fines and cruel and

unusual punishment under the Eighth Amendment, and JCS conspired with those

courts to do the same.

       263.    As a result of the violation of the Eighth Amendment, each of the Plaintiffs

and Members of the Fees Class and Childersburg Fees Subclass was subjected to

excessive fines, fees, and costs in violation of the prohibition against excessive fines.

       264.    As a proximate consequence of this violation of their Eighth Amendment

rights, the Plaintiffs and class members suffered injuries including having fines

converted to jail sentences, being unlawfully incarcerated for undetermined periods of

time with the loss of their liberty and injury to their dignity, by having fines in excess of

statutory limits levied against them and by having other illegal charges for

JCS/CHC/CCS fees, costs and restitution levied all while being indigent.

                                 COUNT EIGHT
          VIOLATION OF THE EIGHTH AMENDMENT BY CHILDERSBURG
                     (on behalf of Childersburg Subclasses)

       Plaintiffs incorporate by reference the previous paragraphs and make them a

part hereof.

       265.    The Plaintiffs aver that Childersburg, acting under color of state law in

violation of 42 U.S.C. § 1983, has violated the Eighth Amendment prohibition against

excessive fines and cruel and unusual punishment in its actions with the Plaintiffs and

Class members.


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         266.   By contract as discussed in detail above, Childersburg has illegally

delegated many administrative and judicial functions of its municipal court to

JCS/CHC/CCS, clothing it with the color of state law for the collection of court fines,

costs and private fees.

         267.   The Eighth Amendment prohibits cruel and unusual punishment and, as

such, limits the kinds of punishment that can be imposed on those convicted of crimes,

proscribes punishment grossly disproportionate to the severity of the crime and

imposes substantive limits on what can be made criminal and punished as such.

         268.   Under Alabama law, a municipal court has no authority to award a fine on

any particular charge over $500.00, Ala. Code § 13A-5-12(a)(3), and even lawful

probation for misdemeanors cannot, by statute, extend beyond a two-year period. See

Ala. Code § 15-22-54(a).

         269.   As mentioned above, Ala. Code, § 15-18-62 is the only statutory method

under which a fine levied by a court on adjudication can be converted to imprisonment,

but that can legally occur only where the court finds willful nonpayment of the fine and

cost.

         270.   Even upon proper notice and a finding of willful nonpayment under § 15-

18-62, the conversion of fine to imprisonment has a specific ratio such that a fine not to

exceed $500.00 shall result in no more than 20 days. See Ala. Code § 15-18-62(2).

         271.   Rule 26.11 of the Alabama Rules of Criminal Procedure provides the

method for dealing with fines, restitution and the failure to pay under a variety of

circumstances, none of which were followed by JCS/CHC/CCS nor required by

Childersburg.

         272.   Under these facts, Childersburg illegally contracted with JCS to add

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monthly fees and costs to each municipal court order. This agreement increased the

substantial fines levied against indigent persons such as the Plaintiffs.

         273.   Neither Childersburg nor JCS/CHC/CCS made inquiry into the indigency

of the “offenders” in the system.         As a result, only the Plaintiffs’ failure to make

payments as dictated by JCS/CHC/CCS under the agreement with Childersburg

resulted in threats of arrests. If threats failed to produce the demanded payments,

arrest and incarceration followed under process at Childersburg based upon

JCS/CHC/CCS’ recommendation that the offender had “failed to obey a court order” or

had violated “probation.”

         274.   These fines exceeded the statutory limits of the municipal court and the

incarceration periods imposed for the failure to pay exceeded those in Ala. Code §15-

18-62.

         275.   Once in jail, Childersburg failed to give credit to the jailed Plaintiffs for the

time they served as required under statute at the rate of $15 per day against the fine.

         276.   The practice and policy at Childersburg of imposing jail time for inability to

pay its fees, fines and costs violates the Eight Amendment prohibition against

excessive fines and cruel and unusual punishment.

         277.   Each of the named Plaintiffs was at all pertinent times indigent and each

was incarcerated by Childersburg personnel at the behest of JCS/CHC/CCS for their

inability to pay fines, fees and costs on the schedule determined by JCS/CHC/CCS.

         278.   As a result of the violation of the Eighth Amendment, each of the Plaintiffs

was subjected to excessive fines, fees, and costs beyond the jurisdictional limits of the

municipality and violation of the prohibition against excessive fines and cruel and

unusual punishment.

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       279.    As a proximate consequence of this violation of their Eighth Amendment

rights, the Plaintiffs suffered injuries including having fines converted to jail sentences,

being unlawfully incarcerated for undetermined periods of time with the loss of their

liberty and injury to their dignity, by having fines in excess of statutory limits levied

against them and by having other illegal charges for JCS/CHC/CCS fees, costs and

restitution levied all while being indigent.

                                    COUNT NINE
                 DENIAL OF EQUAL PROTECTION BY JCS/CHC/CCS,
                  BOTH THROUGH ITS OWN INDEPENDENT ACTS
                  AND IN CONSPIRACY WITH MUNICIPAL COURTS
                      (on behalf of all Classes and Subclasses)

       Plaintiffs incorporate by reference the previous paragraphs and make them a

part hereof.

       280.    JCS/CHC/CCS and Alabama municipal courts have acted jointly under

color of state law in violation of 42 U.S.C. § 1983 to deny the Plaintiffs’ and class

members’ rights to equal protection secured by the Fourteenth Amendment.

       281.    As referenced above, by agreement, JCS/CHC/CCS employees attended

municipal court sessions, collected city fines and costs, were labeled as “probation

officers,” some carried badges, and regularly represented themselves as acting “on

behalf of” the municipalities. Additionally, the JCS/CHC/CCS forms were used at the

municipal court and fees for JCS/CHC/CCS were included in every city court order

referring debtors to JCS. In the system established by an illegal agreement between

JCS/CHC/CCS and Alabama cities such as Childersburg, the actions of JCS/CHC/CCS

are inextricably intertwined with those of the government.

       282.    The practice and policy under this agreement requires “probation” for any

person who, regardless of jail time, is financially unable to fully pay the fine and costs

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when levied by the municipal court.        That probation requirement is part of the

agreement between JCS and Alabama cities like Childersburg, and required payment of

monthly fees to JCS/CHC/CCS.

       283.   Persons who were financially able to fully pay the levied fine and costs in

Alabama municipal courts were not placed on “probation.” As a result, those persons

were not charged any fees for JCS/CHC/CCS and are not subjected to threats of arrest

and incarceration in the collection process.

       284.   Once on “probation” for purposes of paying fines and costs, this policy

and practice implemented by JCS and municipal courts routinely imposed incarceration

and additional costs on individuals who were unable to pay fines and costs, without any

determination of willfulness as lawfully required under Alabama statutes.       See Ala

Code, Section 15-18-62.

       285.   This disparate treatment based upon the wealth of the “offender” before

the municipal court is a violation of equal protection and cannot be justified on any

legitimate basis.

       286.   This inequality of treatment is also beyond the authority of the municipal

courts which are required by Alabama statute to uniformly process traffic infractions and

penalties for misdemeanors in accordance with specified maximum fines. See Ala.

Code § 12-14-8. JCS/CHC/CCS policy is not in accord with the procedures established

by the Alabama Administrative Office of Courts because it imposes fees only on

“offenders” cannot pay immediately and creates its own rules for penalizing individuals

who cannot pay as directed.

       287.   These additional JCS/CHC/CCS fees result in disparate treatment of

those who can immediately pay compared to those cannot. Furthermore, those

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“offenders” within jurisdictions that contract with JCS/CHC/CCS are processed and

fined    differently than   “offenders”   in   jurisdictions   that   do   not   contract   with

JCS/CHC/CCS.

         288.   Each of the Plaintiffs was required to pay the additional costs and fees

under this disparate system and each of the named Plaintiffs was unlawfully jailed for

their inability to pay as demanded.

         289.   JCS’s policy and practice of imposing onerous fees on debtors who were

unable to pay municipal fines or costs all at once, and threatening them with arrest if

they failed to make payments, while imposing none of these harsh conditions on

debtors with sufficient resources to pay their court fines or costs right away deprived

Plaintiffs and the class members of their rights under the Equal Protection Clause.

         290.   JCS’s policy and practice of seeking the arrest and imprisonment of

Plaintiffs and the class members for failure to pay without any determination that the

nonpayment was willful, any other inquiry into indigency or their ability to pay, likewise

deprived Plaintiffs and the class members of their rights under the Equal Protection

Clause.

         291.   Furthermore, Plaintiffs and the class members were deprived of Equal

Protection as a result of a conspiratorial agreement or understanding between JCS and

Alabama municipal courts to deprive Plaintiffs of their constitutional rights. This is

shown by placing debtors on JCS probation solely because they could not pay

municipal fines and/or costs, implementing JCS’s terms of probation, and executing

JCS’s requests to arrest and imprison debtors without an ability-to-pay determination.

Municipal courts throughout Alabama conspired with JCS to deprive Plaintiffs and the

class members of their rights under the Equal Protection Clause, and JCS conspired

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with those courts to do the same.

       292.    As a proximate consequence of this denial of the right to Equal Protection

under the Fourteenth Amendment, Plaintiffs and class members suffered injuries to

their liberty and dignity, such as having fines, costs, and fees far in excess of their initial

penalties levied against them, facing the constant threat of arrest for nonpayment even

when never convicted of a jailable offense or any offense at all, having fines and costs

converted to jail sentences, and being unlawfully incarcerated.

                                    COUNT TEN
                DENIAL OF EQUAL PROTECTION BY CHILDERSBURG
                       (on behalf of Childersburg Subclasses)

       Plaintiffs incorporate by reference the previous paragraphs and make them a

part hereof.

       293.    JCS/CHC/CCS and Childersburg have acted jointly under color of state

law in violation of 42 U.S.C. § 1983 to deny the Plaintiffs’ and Class members’ rights to

equal protection secured by the Fourteenth Amendment.

       294.    This was accomplished by the illegal contractual agreement between

JCS/CHC/CCS and Childersburg whereby their actions are inextricably intertwined in a

practice and policy which automatically requires “probation” for any person who, despite

having no jail sentence, is financially unable to fully pay the fine and costs when levied

by the municipal court. That probation requirement is part of the agreement between

JCS/CHC/CCS and Childersburg and was part of every printed order at the municipal

court and required payment of monthly fees to JCS/CHC/CCS.

       295.    Persons who were financially able to fully pay the levied fine and costs at

Childersburg were not placed on “probation.” As a result, those persons were not

charged any fees for JCS/CHC/CCS and were not subjected to threats of arrest and


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incarceration in the collection process.

       296.   For those such as the Plaintiffs who were unable to fully pay the fine and

costs when levied by the municipal court, “probation” with JCS/CHC/CCS was required

on every order.

       297.   This requirement is part of the City contract with JCS/CHC/CCS. That

contract, as mentioned above, exceeds the statutory and constitutional authority of

municipalities and imposes on the municipal court an agreement in violation of the

separation of powers doctrine between the branches of government.

       298.   Once on “probation” for purposes of paying a fines and costs, this policy

and practice at Childersburg routinely imposed incarceration and additional costs on

individuals who were unable to pay fines and costs, without any determination of

willfulness as would lawfully be required under Alabama statutes.       See Ala Code

Section 15-18-62.

       299.   This disparate treatment based upon the wealth of the “offender” before

the municipal court is a violation of equal protection and cannot be justified on any

legitimate rational state interest basis.

       300.   This inequality of treatment is also beyond the authority of the municipal

court which is required by Alabama statute to uniformly process traffic infractions and

penalties for misdemeanors in accordance with specified maximum fines. See Ala.

Code Section 12-14-8. The JCS/CHC/CCS policy at Childersburg was not uniform with

the procedures established by the Alabama Administrative Office of Courts because it

added fees only to “offenders” who could not pay immediately and created its own

“rules” for penalizing individuals who could not pay as directed.

       301.   These additional JCS/CHC/CCS fines resulted in disparate treatment

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between those who could immediately pay the fine from those who were unable to

immediately pay the fine. Furthermore, those “offenders” within the Childersburg/

JCS/CHC/CCS arrangement were processed and fined differently than “offenders” in

jurisdictions that have not allowed JCS/CHC/CCS to charge additional fees to those

who cannot pay. There is no state authority for such disparate treatment.

      302.     Each of the Plaintiffs was required to pay the additional costs and fees

under this disparate system and each of the named Plaintiffs was unlawfully jailed for

their inability to pay as demanded.

      303.     As a proximate consequence of this denial of the right to Equal Protection

under the Fourteenth Amendment, the Plaintiffs and Class members suffered injuries,

including having fines converted to jail sentences, being unlawfully incarcerated for

undetermined periods of time with the loss of their liberty and injury to their dignity, by

having fines in excess of statutory limits levied against them and by having other illegal

charges for JCS/CHC/CCS fees, costs and restitution levied all while being indigent.

                                    COUNT ELEVEN
               DECLARATORY RELIEF: THE CONTRACT BETWEEN JCS
                    AND THE CITY OF CHILDERSBURG IS VOID
                   (on behalf of all Childersburg Subclasses against
                     JCS/CHC/CCS and the City of Childersburg)

      Plaintiffs incorporate by reference the previous paragraphs and make them a

part hereof.

      304.     A real controversy exists between these parties the validity of the JCS

contract with Childersburg and the legality of the actions taken under that contract such

that declaratory relief is appropriate. Plaintiffs seek declaratory relief voiding the

contract between JCS and the City of Childersburg as contrary to the U.S. Constitution,

Alabama Constitution, and Alabama law.


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       305.   First, Plaintiffs request the Court to declare that the JCS contract with

Childersburg was void ab initio because the agreement exceeded the statutory and

constitutional limitations on municipalities Childersburg had no authority to contractually

bind its municipal court.

       306.   The agreement between JCS and Childersburg violated the separation of

powers doctrine embodied in the Alabama Constitution. See ALA. CONST., Art. III, § 43.

As a result, that agreement is void and due to be declared a nullity.

       307.   Alabama state law also dictates a separation of the branches of

government. Under that doctrine, legislative powers granted to cities and towns are

exercised by the city council, Ala. Code § 11-43-43, while the mayor of the city is

responsible for executive duties. Ala. Code § 11-43-83. If the town establishes a

municipal court, its administration is supervised by the Chief Justice of Alabama. Ala.

Code § 12-2-7 et. seq.; ALA. CONST., Art. VI, § 139.

       308.   Municipalities are prohibited from adopting laws, ordinances and policies

that conflict with state law. Ala. Code § 11-45-1. See also ALA. CONST. Art. IV § 89.

       309.   Childersburg’s mayor has the executive power to execute and enforce

contracts and the Childersburg city council has the legislative power to enact

regulations and ordinances, but neither the mayor nor the council has the power to

invade the administration of its judiciary.

       310.   Childersburg exceeded its statutory authority and acted in conflict with

state statute and constitutional limitations when, acting through its mayor, it agreed

with JCS to bind its municipal court to include probation and fees for JCS in every court

order entered by its hired judge. That action essentially sold the court process for

purposes of increasing income to the city.

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       311.   The illegal agreement and policy of Childersburg invades and overrides

the judicial authority and court administration reserved to the municipal judge and The

Chief Justice.

       312.   Second, the contract between JCS and Childersburg violated the

uniformity requirements of Alabama law.

       313.   Alabama Code § 12-14-8 requires uniformity in processing traffic

infractions and penalties for misdemeanors in accordance with specified maximum

fines. But under the JCS contract, people who could not immediately pay a fine or

court costs were charged fees, while those who could immediately pay were not. Also,

“offenders” within the Childersburg/JCS/CHC/CCS arrangement were processed and

fined differently than “offenders” in municipal jurisdictions that did not contract with JCS.

This violates the uniformity requirements of Alabama Code § 12-14-8.

       314.   The JCS-Childersburg contract also violates the procedures established

by the Alabama Administrative Office of Courts by imposing fees only on “offenders”

who cannot pay immediately and creating other “rules” for further penalizing individuals

who cannot pay as directed. “Offenders” who are able to immediately pay are charged

one rate, but those who are unable to immediately and required to pay monthly fees to

JCS/CHC/CCS.

       315.   Third, the contracts between JCS and Alabama cities, including

Childersburg, granted an exclusive franchise for provision of private “probation”

services. The contract was not competitively bid, as required by ALA. CONST. Art. I, § 22

and Ala. Code § 41-16-50. Because the contract was not bid, it is void and

unenforceable.




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                                     COUNT TWELVE
                       DECLARATORY AND INJUNCTIVE RELIEF 13
                          (on behalf of all Classes and Subclasses
                     against JCS/CHC/CCS and the City of Childersburg)

        Plaintiffs incorporate by reference the previous paragraphs and make them a

part hereof.

        316.    A real controversy exists between these parties concerning several issues

such that declaratory relief is appropriate.

        317.    Plaintiffs also request the Court to declare the actions of JCS/CHC/CCS

and Childersburg under this contract to be unconstitutional under the premises

discussed above. Under this void agreement, JCS/CHC/CCS and Childersburg have

implemented joint policies and practices to prosecute persons such as the Plaintiffs

where there is no jurisdiction or authority to do so under Alabama law, doing so

intentionally in an effort to coerce payment of fines and costs from indigent people.

These efforts have resulted in the illegal prosecution and incarceration of Plaintiffs and

their Class beyond the limited jurisdiction of the municipal courts.

        318.    Further,     JCS/CHC/CCS          and     Childersburg       have    added      increased

punishment, fines and costs after adjudication and even where there has been no

adjudication of guilt, all without jurisdiction or authority for such under Alabama law.

        319.    JCS/CHC/CCS and Childersburg, through their joint action, have

systematically applied Ala. Code § 15-18-62 in an unconstitutional fashion denying the

Plaintiffs and the Class they seek to represent constitutionally protected rights.

        320.    Section 15-18-62 provides for the imprisonment for the failure to pay fines


13 On September 12, 2017, the Court dismissed Plaintiffs’ claims for declaratory and injunctive relief

without prejudice as moot, subject to repleading if JCS reenters business in Alabama. Doc. 626 at 34.
Accordingly, the declaratory and injunctive relief claims in this Count have been kept in the Complaint only
for purposes of a potential appeal of that ruling or for future repleading.


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and costs in limited circumstances and only upon the finding of a willful nonpayment. 14

          321.     Under JCS/CHC/CCS and Childersburg policies and practices, and

through their joint and consistent action, “offenders” before the Childersburg Municipal

Court such as the Plaintiffs and the Class they seek to represent are systematically

imprisoned for nonpayment with no determination of willfulness and with no

consideration of their indigency or ability to pay.

          322.     Furthermore, once imprisoned, the requirements of time to be served

under § 15-18-62 are ignored by the practice and policy of JCS/CHC/CCS and

Childersburg.

          323.     The result of this consistent systematic policy and practice of

JCS/CHC/CCS and Childersburg is essentially a debtor’s prison for fines and charges

levied by JCS/CHC/CCS under a void contract with the various municipalities for which

it works.

          324.     Plaintiffs request the Court to enjoin the actions of JCS/CHC/CCS and

Childersburg identified herein to prevent the continuation of these violations of statutory

and constitutional prohibitions.

                                         PRAYER FOR RELIEF

                   Wherefore, Plaintiffs respectfully pray that the Court will assume


14   Section 15-18-62. Imprisonment for failure to pay fines and costs.
In cases of willful nonpayment of the fine and costs, the defendant shall either be imprisoned in the county
jail or, at the discretion of the court, sentenced to hard labor for the county as follows:
(1) If the fine and costs do not exceed two hundred fifty dollars ($250), no more than 10 days;
(2) If the fine and costs exceed two hundred fifty dollars ($250) but do not exceed five hundred dollars
($500), no more than 20 days;
(3) If the fine and costs exceed five hundred dollars ($500), but do not exceed one thousand dollars
($1,000), no more than 30 days; and
(4) For every additional one hundred dollars ($100) or fractional part thereof, 4 days.


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jurisdiction of this cause and upon the final hearing:

       a.     Certify this matter as a proper class action maintainable under Rule 23 of

              the Federal Rules of Civil Procedure;

       b.     Declare the Defendants’ conduct described in the above counts are

              unconstitutional;

       c.     Declare that the contract between JCS and the City of Childersburg is

              void;

       d.     Award the Plaintiffs such damages as this Court shall find the Plaintiffs

              have sustained, together with punitive, or exemplary damages as the law

              shall permit;

       e.     Enter an injunction and other declaratory relief which declares the JCS

              contract with municipalities such as Childersburg to be void and in

              violation of the statutory and constitutional limitations on municipalities;

       f.     Enter   an      injunction   and    other   declaratory   relief   which   enjoins

              JCS/CHC/CCS and Childersburg from engaging in the violations of law

              set forth hereinabove;

       g.     Enter an injunction and other declaratory relief which prohibits

              JCS/CHC/CCS and Childersburg in the future from placing persons on

              probation for simple fines and declares that any current probation and

              fees for simple fines is void;

       h.     Enter an injunction and other declaratory relief which prohibits

              JCS/CHC/CCS and Childersburg in the future from assessing fines in

              excess of $500 and extending probation periods beyond 24 months and

              declare that any previously assessed fines and probationary periods in

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              excess of these limits to be void;

       i.     Enter an injunction and other declaratory relief which prohibits

              JCS/CHC/CCS and Childersburg in the future from imprisoning indigent

              persons for failure to pay fines and fees and ordering the release of any

              currently incarcerated indigent persons who were jailed for these reasons;

       j.     Award to the Plaintiffs and class members damages under 42 U.S.C. §

              1983;

       k.     Award Plaintiffs and the class members restitution equal to any amounts

              paid on fines and all fees levied by JCS/CHC/CCS and Childersburg that

              are found unconstitutional and/or unlawful (along with interest), and the

              annulment of any remaining unpaid fines that are found unconstitutional

              and/or unlawful;

       l.     Award to the Plaintiffs and Class the cost of this matter, including a

              reasonable attorneys' fee;

       m.     Award to the Plaintiffs and the class members such other, further and

              more general relief as the Court may deem appropriate under these

              circumstances including cost of these proceedings.

                                     JURY DEMAND

       Plaintiffs, on behalf of themselves and the classes, request trial by jury on all

claims so triable.


                                                   RESPECTFULLY SUBMITTED,



                                                   s/ G. Daniel Evans
                                                   G. Daniel Evans
                                                   ASB-1661-N76G
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                                                 Alexandria Parrish
                                                 ASB-2477-D66P
                                                 D. Patrick Evans
                                                 ASB-3209-R67G
                                                 Maurine C. Evans
                                                 ASB-4168-P16T
                                                 Attorneys for the Plaintiffs
                                                 The Evans Law Firm, P.C.
                                                 1736 Oxmoor Road, Suite 101
                                                 Birmingham, Alabama 35209
                                                 Telephone: (205) 870-1970
                                                 Fax: (205) 870-7763
                                                 E-Mail: gdevans@evanslawpc.com
                                                 E-Mail: ap@evanslawpc.com
                                                 E-Mail: dpevans@evanslawpc.com
                                                 E-Mail: mevans@evanslawpc.com

                                                 Erwin Chemerinsky
                                                 Berkeley Law, University of California
                                                 215 Boalt Hall
                                                 Berkeley, CA 94720
                                                 E-Mail: echemerinsky@berkeley.edu

                                                 Leslie A. Bailey
                                                 Brian Hardingham
                                                 Public Justice
                                                 555 12th Street, Suite 1230 Oakland,
                                                 CA 94607
                                                 E-Mail: bailey@publicjustice.net
                                                 E-Mail: bhardingham@publicjustice.net

                               CERTIFICATE OF SERVICE

       I hereby certify that on this the 13th day of February, 2018, I electronically filed
the foregoing Plaintiffs’ Fifth Amended Complaint with the Clerk of the Court using the
CM/ECF system which will send notification of such filing to the following:

Will Hill Tankersley, Esquire
Gregory C. Cook, Esquire
L. Conrad Anderson, IV, Esquire
Ginny Willcox Leavens, Esquire
Ed R. Haden, Esquire
Chase T. Espy, Esquire
Balch & Bingham LLP
1901 Sixth Avenue North, Suite 1500
Birmingham, Alabama 35203

Timothy P. Donahue, Esquire
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DONAHUE & ASSOCIATES, LLC
1020 22nd Street South
Birmingham, Alabama 35205

Michael L. Jackson, Esquire
Larry S. Logsdon, Esquire
Wesley K. Winborn, Esquire
WALLACE, JORDAN, RATLIFF & BRANDT, L.L.C.
P.O. Box 530910
Birmingham, Alabama 35253

F. Lane Finch, Jr., Esquire
Brian Richardson, Esquire
Swift Currie McGhee and Hiers, LLP
2 North 20th Street, Suite 1405
Birmingham, AL 35203

Wilson F. Green, Esquire
Fleenor & Green LLP
1657 McFarland Blvd. N., Ste. G2A
Tuscaloosa, Alabama 35406


                                          s/ G. Daniel Evans
                                          G. Daniel Evans




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John H. Merrill                                                             P. O. Box 5616
Secretary of State                                              Montgomery, AL 36103-5616




State of Alabama
                                     EXHIBIT 2




I, John H. Merrill, Secretary of State of Alabama, having custody of the
     Great and Principal Seal of said State, do hereby certify that
  as appears on file and of record in this office, the pages hereto attached, contain a
 true, accurate, and literal copy of the Articles of Formation filed on behalf of CHC
   Companies, Inc., as received and filed in the Office of the Secretary of State on
                                       10/18/2012.




                              In Testimony Whereof, I have hereunto set my
                              hand and affixed the Great Seal of the State, at the
                              Capitol, in the city of Montgomery, on this day.

                               01/06/2016
                              Date


20160106000019154
                              John H. Merrill               Secretary of State
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